                ****
                       FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




    -k                                   Broward County Sheriff's Office                                                                              [? f.- 4?At'*
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LE


                                                         23-12544
                                                                                                                                                        ''
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                                                                                                               FK                                     IB,W'95#$'0'


e&.- -2&,                                                      Booking Report                                                                         'IC,TIAIU
                                                                                                                                                      ',
                                                                                                                                                                   Eqg
                                                                                                                                                                       nip

as #          801900172                           BCCN #             908301                                        Booking Sheet Control Date and Time

OBTS          604363440                    Print Clearance       02/13/19 19:42:52      Prints Yes                 02/13/19 21:48:21

Arrest #      MJ 1900172                   Offense Report #          90-1902-004479                                Agency           MAIN JAIL


                                                                                                                                    REDACTED
Last Name                                                                                                          SSN #
      First
                    DEMONS, JAMELL
    Middle      '



                1
Race                  Sex   Height       Weight   Eyes       Hair     Comp.     Age Admitted       DOB             Place of Birth               State           FDLE

B                     M     506          120      BRO        BLK      LBR        19              5/1/1999      VERO BEACH                       FLORIDA         7931326


Permanent                                                                                                              Months of Residence
    Address   604 9TH AVE     VERO BEACH FL 32962
                                                                                                                                     4


Arrest Date    02/13/19 18:05:00               Place of Arrest      555 SE 1ST AVENUE                  Arresting Officer     11725 GARCIA



Inmate Logged Date          02/13/19 18'48:48            Inmate Log Type        FULL INTAKE                  Place Admitted                    MAIN



Intake Comments     SP/CO-17481          WC-16400     29/54-17481


Alias Last name, First, Middle, DOB


Warrants Officdr Id: bs16400
                                                                                                                   GB
Scars,Marks,Tattoos

Tattoos                              Neck                             JAMIE, JANA
                                     I
Tattoos                              Face (other than                 LEFT EYE HEART, RIGHT EYE 17

                                     specified)
Tattoos                              Arm, right                       EATH, MONEY BAGS, EGYPTIAN, CLOCK EITH TROPHY, BART SIMPSON

Tattoos                              Arm, left                        JAMIE, 100K


Release Date/Time                                 Release Reason                                                            Release Authorized By



Charge No.          Charge Initiation Date          Statute                   WarranVCapias            Level   M.C       B. Type                        Bond Amount

        3                 10/03/2317 23             914.22-la(5)                                       7i:     Y         HOLD FOR MAG                   $0.00

Charges       TAMPERINGW/WITNESS WITHHOLD                                      Comments #90-1901-009039
              TESTIMONY/INFOIN LIFE/CAP FELONY
              PROCEEDING

Booking Off.'ID     bs15260                         County                                             Judge

                                                                         *                   *
                                                                             End of Report
                              ****
                                           FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                                                O COMPLAINT AFFIDAVIT
                                                                                   SHADED FIELDS MUST BE ANSWERED 1F DEFENDANT NOT IN CUSTODY


        BROWARD COUNTY                                                                                                                                                                                                           ? ARREST FORM
        ARREST #                                                                                                                                                                  OBTS#

        Filling Ageng                                                    Offense Report                              Local 1D #                     FDLE                          FB[                                 REDACTED
        Broward County Sheriffs Office                                90-1901-009039                                908301
        Defendant s Last Name                                            First                                       Middle                         SUF                           Alias/StreetName                                                 Citizenship
        DEMONS                                                             JAMELL                                        MAURICE                                                 MELLY
        Race              I Sex                Hgt                  Eyes                Hair            Wgl               Comp                   Age             DOB              Birthplace                          Scars, marks. 11
        B                 1M                  5'8"                 Bro                 Blk              120              Drk                     24          05/01/99            Florida                             facial and neck tattoos
                                                                                                                                                                                                                                      '


        Permanent Addresh                                                                                                                                                         Local Address

        6049THA\>E
        VERO      BEAEH, FL 32962                                                                                                                                                 Place of Employment                                     Length

        ResidenceType
                         Il(    [) City
                                                           O       (A County
                                                                                                (3)   Flonda
                                                                                                                         ?    (4) Out Of State
-




        How long defendantin                               Breathalyzer by/CCN                           Reading              Place of Arrest                           Date / Time arrested                    Arresting Officer CCN
        BrowardCounty     i

                                                               i                                                           555 SE 1st Ave Fort
                                                                                                                                                           l.au? 10/02/?
                                                                                                                                                                                    1500hrs                     Det Steele 19085
        Officer [nwred                    Unit             Zone            Beat         Shift      Trans Unit                                                                                                                              Drug Type
                                                                                                                         PMD                     Transportm*OfficerCCN                       Pick-up time
                         -



            VAONo @                       -0'413              1            ib           GHF                                                      N/A[n Custo@y                                                          N/A                   N/A
                                                                                                                         YONO                                                                Time amved at BSO
                              B-Barbituraie           ]1-i[allucinog:n           P-Paraph
                                                                                        emilia'     U-Unknown                                                It-liu'            i-Use             K-lbspcnsc'    Indicationof               N       IJNK
        Ipg                   C-Cocaine               M-Man,ulna                  [-qu,pment        /.-O\h:r             Activity'         Activity          I-rramt.           M-Manufacture        Disubu[e      Alcohol Inf        OO            O
        N-N/a                                                                                                                              N-NA
                              E-Ileroin                                          S hyn:hcu.                                                                  A-Smuggle           Produce/         L-Othcr
        A-Ampheamlne      ?
                                                      ml                                                                   N/A             P-Possession
                                                                                                                                           S-Sell
                                                                                                                                                             [)-Del,i.r          Culli'/le                            Drug [nf        'O O          O


                                           Defendant's Vehicle                                                      Type                                  Year                  Color                   VIN#.
                Attach
                                                                                                                                                                                Other
            Defendant's                                                                                                                                                         Identifiers
                Photo                      Vehicle towed to                                                                          Tag #
                                                               1                                                                                                                or remarks




                of   V]ctim(s) (lfcorporation,e'xact legal name and state of incorporation)
        e
                                                                                                                                                                         ADDRESS                                           PHONE#




    i
        Count #           I                                                         Offenses Charged                                                                         Citation # if Applicable                    FS or Cap,as/Warrant#

            1            WITNESS              TAMPERIIG                                                                       W                                                                                                  f 6. 91422tt) C'
                                                                                 914.22.Ia CS)
                                                                                                                                                                                                                            'r.S 914 22**e; gr




                                                                                                                   ProbableCause Affidavit
        Before me this date personally app6ared Det Garrett Steele                                                                                                                                          who being first duly sworn deposes
        and says that on     3rd   day of.       October          2023                                                   555 SE 1st Ave Fort Lauderdale, FL 33301
                                                                ,
                                                                                                                    at
                                                                                                                                                                                                            (crime location) the above named
        defendant coMrnitted the above offenses charged and the facts showing probable cause to believethe same are as follows'

        WITNESSTAMPERING
        On or about'April 10, 2023 coptlnuing through and Including July 22,2023, Jamell M. Demons, along with REDACTED did then and there
        unlawfullyahd knowingly       eng#ge in misleading conducttoJard 1nother person with the intent to cause or Induce               to
        withhold      testimony, orvvithhIba record, document, or other object, or tj cause or Induce REDACTED       to evad@ iegi*Ecess
        summonlngthatperson to appear as a witness, or to produce a record, document, or other object, in an offic,al proceeding,or to cause or

               REDACTED thebeabsent                                                     person--has ben surnmonedofficial
                                                                                                                     b? legal proces mre
                                                                                  from an
        induc?
        specificallydescribed
                                                       icial proceeding toresult
                                                      to

                                    Klry trial of Jamell Demons, and
                                                 as
                                                                           which such
                                                                                 thereof, the official investigation       proceeding effected
                                                                                                                         as a                                                                         or

        involves the? investigation p6secution of Murder the First Degree, capital felony,contrarytoFS 91422(1)and FS19422(2)(e) ?
                                                       or                                               In                                 a

        I swear the abgve statement is correct and true to the best of my knowledgeand belief


                                                 Det./9085                                                                Detective G. Steele 19085                                                               DLE/SID-GITF
         )fficer/8yant s Signature                                                                              Officer'sName/CCN                                                                 Officer s Division

        STATE OF                    FLORIDA                        COUNTY OF                      BROWARD

                                                                                                      3rd                         October
        The forgoing mstrument was acknowledgedbefore me this                                                       day of                                                     ,2023              who is personally known

        to me or who has oroduced (ID tvoel                                       known to me                                                                     Did
                                                                                                                 as identification and who                                            Mid or did not) take an oath.
                                                                                                                                                                       Det. 18488

        Df. NOJARY
             -I
                   PUBLIC, OR ASSISTANTSTATE ATTORNEY                                                                                                                    TITLE OR RANK/CCN


        SEVENTEENJH JUDICIALCIRCUIT                                                               FIRST APPEARANCE/ARREST FORM                                                                                      Distribution

        CTecmigmn.                                                                                                                                                                                                  Original Court-




        STATE OF FLORIDA                                                                           SPAC'tl=IJNr,I)1.).[Jbl. "" l'1{()14.I,-1 (;AIJS, AI-1 It),\Vll CONHNIJA IION)                                   2nd State Attorney
                                                                                                                                                                                                                    3rd Filing Agency
                                                                                                                                                                                                                    4111 Arrestirig Agency
                    ****
                           FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                               O COMPLAINTAFFIDAVIT
                                                                  PROBABLECAUSE AFFIDAVIT CONTINUATION


  BROWARD COUNTY                                                                                                                                                                  E ARREST FORM
  ARREST #                                                                                                                                  OBTS #
  Defendant s Last Name        First                   Middle       SUF        Hgt           Wgt        RC        SEX      DOB              Offense Report             Arresting Officer(s)CCN
              DEMONS                            JAMELL                         5'8"         120         B        m        05/01/99          90-1901-009039             Det. Steelei 19085

  Name of Victim(s)(Ifcorporation,ekact legal name and state of incorporation)                                        ADDRESS                                              PHONE#

  SOF




  Count#                                            Offense Charged                                                                    Citation # if Applicable             FS or Capias/Warrant#

       1        WITNESS TAMEERIN n                                                                                                                                               F.S. 914 22(1)




                                                                                 ProbableCause Affidavit
  Before me thid date personally appeared Det GarrettSteele                                                                                                   who being first duly sworn deposes
  and says that 8n    3rd     day of:       October       2023       ,              at 555 SE 1st Ave. Fort Lauderdale, FL 33301                              (crime location) the above named
  de fendant committed the above offenses charged and the facts showingprobablecause to believethe same are as follows


 On October 26, 2018, at 04 35 am, Cortlen Henry entered the Emergency Room at REDACTED                                                                                                  requesting
 assistancefor the two passengers in his vehicle (2018 Jeep Compass with FL Reg #IEKD22) as they were shot multiple times Officer

 Amengor (Miramar PD), who #as working the security detail, exited the hospital and made contact with the aforementioned vehicle that was
 stopped In the loading zone orl the north side REDACTED                      ER entrance. Amengor requested medical staff ir; the removing of
 the two passengers Both passengers were unresponsive and exhibited mumple gunshot wounds. The aforementioned vehicle transporting
 both victims also sustained a rhinimum of 8 projectile entry points on the right-side exterior and 1 visible projectileentry point to the rear lift
 gate.
 The front REDACTED REDACTED                     sustained gunshot wounds to his torso and head, while the right rear REDACTED
                , sustained several REDACTED wounds to his back and head Both passengers on the right side of the vehicle were pronounced
 deceased by medical staff at
 Henry was questioned by Detective Moretti, and Henry said he had departed to a recording studio in Fort Lauderdale with the two victims In
 his vehicle. Henry stated he drove on I-595 to I-75 and exited at MIramar Pkwy heading west   Henry stated that Just past SW 160th Ave
 (Dykes'Rd),  a vehicle pulled n#xt to him and started shooting. Henry immediaiely lowered his bodyposition to the flJorboards in a
 protective posture to avoid beihg shot Henry added that when he sat upright his friends, REDACTED and REDACTED were shot and he
 irdmediateiybroceeded to the bearest hosp61 Det. Toyota later drove wiA Henry to have him identifythe specific location of where the
 shootiy     oc*rred .Henry Ponted out the 16100 Block of Miramar Pkwy It should be noted, the area was shut down between 160th Ave
 and 172nd Ave on Mlramar Pkwy and was closely examined for any evidence to corroborate the statements made by Henry. After a long
 and exhausting examination n6 Jvidence was fodnd. The detectives and officers walked the twelve blocks out on fol It shbuld be noteci,
 not a single
 area betweerl
                  ?epo?
                    of
                       gunshotssreported to Broward County Communication Center, nor Miami-Dade as well. It should be noted that the
                    172nd Ave and      184th Ave was closed down on 10/26/2018 and canvassed on foot by detectives and officers No
                                       '
 cdrroborating evidence was found.
 Henry's handls were processed by Miramar Police Department Crime Scene Technic,an Michael Kelly first by submission for laboratory
 testing with Tri-Tech Gunshot Residue Evidence collection kit, and then with a presumptive gunshot reside test Subsequenttesting by RJ
 Lee laboratoriesshowed that Gortlen Henry has a small number of particles consistent with GSR on his hands



  [ sweat the abpve statement is correct and true to the best of my knowledgeand belief

                                                                                           Detective G Steele 19085                                                    DLE/SID-GITF
-WAZ= EEIZ                  OCT.19085
                                                                                Officer'sName/CCN                                                       Officer'sD,vision

  STATE OF                FLOR[DA       COUNTY OF               BROWARD


  The forgoing instrument was acknowledgedbefore me this                 3rd        day o f October                                        '2023        whois personallyknown


  to me or who has Produced (ID tvoe)
                                               known to me                                                               Did
                                                                               as identification and who                               (did or did not) take an oath

                                                                                                                                 Det. 18488
  DEPOT*EaK OF THE COURT, NQTARY PbBLIC. OR ASSISTANTSTATE ATTORNEY                                                                TITLE OR RANK/CCN

                                       I
  SEVENTEENTH JUDICIAL CIRCUIT                                   FIRST APPEARANCE/ARREST FORM                                                                           Distribution
  BROWARD
            qOUNTY                                                                                                                                                      Original Court
                                                                                                                                                                                   -




  STATE OF FLORIDA                         (b O[JI.1) AI)1)1[]ONA[.SI'AC I IN N N I)11) IJSI5 l ili:PR HAIU F CAIJSI: AI 1-KA P I] CONHNIJA'HON)                        2n' State Attorney
                                                                                                                                                                        r Filing Agency
                                                                                                                                                                        4'b Arresting Agency
                     ****
                             FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                 O COMPLAINTAFFIDAVIT
                                                                     PROBABLECAUSE AFFIDAVIT CONTINUATION

  BROWARDCOUNTY                                                                                                                                                                  E ARREST FORM
  ARREST #                                                                                                                               OBTS#
  Defendant s Last Name           First                    Middle      SUF       Hgt          Wgt       RC       SEX     DOB             Offense Report               Arresting Officer(s)CCN
                 DEMONS                              JAMELL                      5'8"        120       B        m       05/01/99        90-1901-009039               Det Steele 19085

            of Victi,n(s)(If corporations eiact legal name and state o f Incorporation)                             ADDRESS                                               PHONE#

  e
   Count #                                              Offense Charged                                                             Citation # if Applicable               FS or Capias/Warrant#
   -
                                                                                                                                                                                 F S 914 22(1)




                                                                                   6=S
                                                                                                                                                                               F S. 914.22(2)(e)




                                                                                   Probable Cause Affidavit
                                                       Garrett
  Before me this date
                          ersonally appeared Dt!October Stee't2023                                                                                             who being first duly sworn deposes
  and says that dn    3rd             f
                                  day o                                ,             a[ 555 SE      1st Ave Fort Lauderdale, FL 33301                          (crime location) the above named
  defendant committed the above offenses charged and the facts showingprobable cause to believethe same are as follows.

On October 26, 2018, Detective Moretti, along with Det. Toyota made contact REDACTED                                                                 who initially identifiedhimself as
REDACTED                     at REDACTED                    This Is the last known residence of the victims According REDACTED                                      they REDACTED Henry,
Demons, REDACTED                          an6 a few others) were at a recording studio in Fort Lauderdale and alleft togetherin two separate vehicles.
REDACTED stated he arrived a little ahead of the victims at the aforementioned residence REDACTED stated it wasn't until later that he found out
                                            I
his friends were REDACTED            $aid that Demons was In his vehicle (a red Mitsubishi) and the grey Jeep was occupied by REDACTED
REDACTED             REDACTED was asked if he knew the location of Demons and he stated he did not. However, it was later discovered REDACTED
was        lying to Detective Moretti s he REDACTED had Just come from the residence REDACTED                                                     (aka REDACTED             and had been in the
presence of bemons.
The location of the recording studio was Identified as REDACTED                                                                                                                Detectives Toyota
and Bertrandmade contact with management on 10/26/2018. The manager of the studio, REDACTED                                                               confirmed the victims were at the
                                            i
recording studio, along with Jafnell Demons and Cortlen Henry The manager provided Toyota and Bertrand access to the studio's security
cameras
               Vic,eo evidence       shovs
                                       on 10/26/2018 the aforementioned gray Jeepdeparted the REDACTED                        ocatedlatREDACTED
REDACTED in Fort Lauderdale, FL at 03.20 hrs (Video was behind one hour) on 10/26/2018 The driver was dentified as Cortlen Henry, the left
rear passenger as Jamell Demons, the right front passenger REDACTED                       and the right rear passenger REDACTED
REDACTEDIt should be noted that Derr,ons had alight brown satchel hanging dovvn on the left side of his body REDACTED

departed the%studio, he was ca'rrylng a black satchel in his left hand Neither satchel was located In the Jeep when CJrtlen Henry showed
up at REDACTED                         with the two victims The grey Jeep with the above-listed individuals (Demons, Henry, REDACTEDand

REDACTED departed       the area  ofthe recording studio The red Mitsubishi, being driven by REDACTED and occupied by REDACTED         and two
other individuals,followed behind.
As stated REDACTED         said he
                                   prow-ed directly to his residence iNMiramar REDACTED                        This was confirmed by the
security carn,Orasat the gate h6use to Sunset Lakes located in the 3500 block of 184th Ave as he arrived at 03:49 hrs The video
surveillancecameras at 17001 Miramar Pkwy, captured the red Mitsubishi and a dark SUV passing SW 172nd Ave at 0346 hrs. This is
consistentwith the arrival of the red Mitsubishi at the security gates to Sunset Lakes at 03 49 hrs REDACTED had to stop and be Identifiedto
enter the resjdence by the security guards as observed on video.



  I swear the above statement is correct and true to the best of my knowledgeand belief



                   *14                                                                      Detective G Steele 19085                                                DLE/SID-GITF
             -




                              Det. i 908 s
  Officer/Att's     Signature                                                    Officer's Name/CCN                                                       Officer's Division

  STATE OF                FLORIDA           COUNTY OF               BROWARD


  The forgoing instrument was acknowledged before me this                  3rd       day of October                                     '2023             who is personallyknown

                                                    known to me                                                        Did
  to me or who has produced (ID tvDe)                                            as identificationand who                           Mid or did not) take an oath
                                                                                                                              Det. 18488
  DEPUTYCLERK OF THE COURT, NOTARY PUBLIC, OR ASSISTANT STATE ATTORNEY                                                           TITLE OR RANK/CCN


  SEVENTEENTH JUDICIAL CIRCUIT                                      FIRST APPEARANCE/ARREST FORM                                                                       Distribution
  BROWARD COUNTY                                                                                                                                                                      Court
                                                                                                                                                                       Original   -




  STATE OF FLORIDA                              (b]IOIJ1 DADD[IION,u. SPACEHENII DI D IJS IN ! 111 I'Rol.U]]i'('AIJSI-,WH(,Wll
                                                                                                                             CONI IN[JAI ON)                           2nd State Attorney
                                                                                                                                                                       3? Filing Agency
                                                                                                                                                                       4? ArrestingAgency
                       ****
                               FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                              O COMPLAINTAFFIDAVIT
                                                                  PROBABLECAUSE AFFIDAVIT CONTINUATION


     BROWARD COUNTY                                                                                                                                                         E ARREST FORM
     ARREST #                                                                                                                        OBTS #
     Defendant s Last Name         First                Middle     SUF        Hgt         Wgt       RC       SEX      DOB            Offense Report              Arresting Officer(s)CCN
                 DEMONS                            JAMELL                     5'8"        120       B       m       05/01/99        90-1901-009039               Det. Steele 19085

     Name o f Victtm(s)(Ifcorporation,dxact legal name and state of incorporation)                              ADDRESS                                              PHONE#

    SOF




     Count #                                          Offense Charged                                                           Citation # if Applicable                FS or Capias/Warrant#

          1        w/'TNESCTAMPERING'                                                                                                                                       F S. 914 22(1)

                                                                                                                                                                           F S. 914 22(2)(e)


                                                                                GS
                                                                                ProbableCause Affidavit
     Before me this date personallyappeared Det. Garrett Steele                                                                                            who being first duly sworn deposes
     and says that on        3rd   day of        October           ,   2023       ai 555 SE      1st Ave. Fort Lauderdale, FL 33301                        (crime location) the above named
     defendant committed the above offenses charged and the facts showingprobable cause to believe the same are as follows.


    On October 26, 2018, a search warrant was issued in this case for the vehicle driven by Henry and occupied with REDACTED                                                               and
    Demons    Th? vehlcle was malptained In secured storage at the Miramar PD West Sub Station. The vehicle Is owned by Enterprise Car
    Rental and rented by the maniger of REDACTED                           The evidence was processed by CSIs Carter and Carroll. The vehicle
    had 8 visible,projectile holes oh-the right side of the vehicle (3 on the front right passenger door and 5 on the right rear passenger door)
    There was also a projectilehole on the rear lift gate The vehicle also had visible damage to the Interior of the vehicle from projectiles
    entering from the outside to thl, inside of the vehicle. A significantamount of blood wason the inside passenger side of the veicle (front
    and baGk) All the proiectiles ebtenng the vehicle were concentrated to the right side of the vehicle (Passenger Side) All the evidence was
    collected and placed into evidJnce H should be noted thatone (1) single 40 caltber shell casing (Blazer S&W) was found inside of the
    vehicle on the floorboard of th0 left rear passenger side. It was found Inside a white plastic bag, on the floorboard This was the seat that
    was utilized by
                    Demgns as oberved on video This single shell easing also contradictsspternents made by Henry stating this incident was
    a drive-by shooting. This supports the evidence that the victims were shot inside the car first and the proiectlle holes on the extenor was

    later staged in an effort to misJirect law enforcementsInvestigation
    On October 27, 2018, Mark REDACTED made contact REDACTED           in REDACTED    After REDACTED             with the video evidence, he

    REDACTED then changed his stdry              added Demons was in the grey Jeep initially, but along the way he got out of the Jeep and
    entered his Red REDACTED               stated this occurred on I-75 near the Sheridan Street REDACTED      stated he was contacted by Demons
    via 'SnapchAt" to pull over on i-75 and meet up.
    A search REDACTED was obtainedl on the cell phones/cell sites used by REDACTED                                                                            Cell phone mapping showed
    Demons,                                  were together REDACTED                  ollowed behind them It was determinedREDACTED                                did   proceed' to tile
    residence REDACTED                      and arrived at said location around 03 49 a.m. This was also confirmed by the video at the gate to Sunset
    Lakes These records also showed a continuous route from the studio to the residence without a stop or delay in between




     I swear the above statement is correct and true to the best of my knowledge and belief


    JZ= TM Det. 1908S                                                                    Detective G. Steele 19085                                              DLE/SID-GITF

0 Offica/Afnfsnature
V
                                                                               Officer's Name/CCN                                                     Officer s Division

     STATE OF                FLORIDA        COUNTY OF            BROWARD


     The forgoing Instrument was acknowledgedbefore me this            3rd        day of October                                   ,2023              who is personally known

     to me or who has Droduced (ID tyne)
                                                  known to me                                                       Did
                                                                              as identification and who                         Mid or did not) take an oath
                                                                                                                            Del 18488
     DEPUTY CLERK        offiiiftoURT,NOTARY PUBLIC. OR ASSISTANTSTATE ATTORNEY                                              TITLE OR RANK/CCN


     SEVENTEENTH JUDICIAL CIRCUIT                                FIRST APPEARANCE/ARREST FORM                                                                      Distribution
     BROWARD EOUNTY                                                                                                                                                Original Court
                                                                                                                                                                             -




     STATE OF FLORIDA                                                    141:Nn-DF[)USIJ nli PRO[t,\BI]:CA[JSI AI FZCAV!1 CON[lNIJAIEO.9                           Znd State Attorney
                                                                                                                                                                   yd FIling Agency
                                                                                                                                                                   4* Arresting Agency
                           ****
                                  FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                     O COMPLAINTAFFIDAVIT
                                                                         PROBABLECAUSE AFFIDAVIT CONTINUATION


      BROWARD COUNTY                                                                                                                                                                    E ARREST FORM
      ARREST #         ?                                                                                                                        OBTS#
      Defendant s Last Nime         First                      Middle      SUF        Hgt           Wgt       RC       SEX      DOB             Offense Report               Arresting Officer(s)CCN
                  DEMONS                                JAMELL                        5'8"         120       B        M        05/01/99        90-1901-009039               Det. Steele      19085
      Name o f VictiM(s)(I f corporation,dact legal name and state of Incorporation)                                       ADDRESS                                               PHONE#

     SOF



      Count#                                               Offense Charged                                                                 Citation # if Applicable               FS or Capias/Warrant#

       -1           WITNFRR TAMPFRIM)                                                                                                                                                  F S 914 22(1)

                                                                                                                                                                                      F.S. 914 22(2)(e)


                                                                        GS
                                                                                        Probable Cuse Affida(it
      Before me this date personallyappeared Det. Garrett Steele                                                                                                      who being first duly sworn deposes
      and says that on        3rd   day of:           October              ,2023            at   555 SElst Ave, Fort Lauderdale, FL 33301                             (crime location) the above named
      defendant con*nitted the above offenses charged and the facts showingprobable cause to believe the same are as follows

     The cell site varrant for the cell phones of Demons, REDACTED and REDACTED revealed they traveled west on Miramar Pkwy, but turned north
     on SW     184th? Ave towards Pins Blvd and then turned west on Pines Blvd Video evidence shows the grey Jeep Compass traveling west In
     the 19200 Blpck at 03:53 hrs     nd returned east bound at 04'06 hrs Cell site data from Demon's cell phone correspondedwith the actual
     crime scene       ocation, which vithin the iunsdictional limits of Miramar, Broward County, Florida REDACTED cell phone also 4egistered at the
                                            is

     same location as Demons. The cell               phone for REDACTED registered on a cell tower near the crime scene, but separate and apart from the
     false reported "drive-by" location. This evidence contradicts statements made by Henry at the hospital as it shows a different path traveled
     These records also don't show Demons meeting up REDACTED                                       and proceeding home with him
     T-Mobile     cell' phone records (CDR)
                                        I
                                            also show that Demons was traveling from Fort Lauderdale in a western direction startirig at 03 20
     hours, until the time of the shobting on 10/26/2018 This was consistent with video evidence obtained in this case. The records then show
     Demons traveling back in an eistem direction, with the location of the crime scene being in the path of travel. It should be noted that the

     original crime scene identifiedby Henry was a false location This investigation revealed that Henry intentionallylied to REDACTED Moretti
     and others to deceive and misll-ad                      in an attempt to hidethe incriminating truth petaining to th? homicides o
                                                    the-investigation                                                                              and
     REDACTED Th6se same cell phohe records show the cell phones of Demons REDACTED               moving   around the area  west  of I-75 in Pembroke
     Pines at 04 25hrs., prior toentring the hospital at 04 35 hrs. The records of Demons also IndiAte a departure from the vehicle at 04 32
     hrs. Video eJIdence shows              Hebry Irriving
                                                  at the hospital with REDACTED REDACTED     but without Demons According to the CDR of Demons'
     cell phone, he separated from the cell phone belonging to REDACTED around 4 32 hrs This was according to the records prov,Ided by
     T-Mobile via a search warrant issued in reference to this case Evidence shows that Henry and Demons drove around for a'period of time
     with the two dead victims In th;ir vehicle prior to entering the hospital This was in a calcuated effort to establish their versidn of the incident
     In an attempt to deceive law erjforcement. Special Agent Brendan Collins of the Federal Bureau of Investigation later analyzed the records

     and concurrdd in the initial analysis done by Mark Moretti.
     Video evidence obtained from the hospital shows Henry had changed his clothes When Henry departed the studio, he was wearing a black
     t-shirt, but at the hospital he was wearing a black hoodie The black hoodie was later examined, and no forensic evidence was noted,
     however, the'? black t-shirt worn under the hoodie by Henry had a blood stain pattern on it, both front and back Subsequent DNA Analysis
     by the Broward Sheriffs Office Crime Lab showed that the blood on the front of the t-shirt was consistent with victim REDACTED               and
     the blood on the back was consistent with victim REDACTED

      I swear the above statement is correct and true to the best of my knowledgeand behef

                                                                                                   Detective G. Steele 19085                                               DLE/SID-GITF
                                            D.eT.19085                                Officer's Name/CCN                                                         Officer's Division
CL    STATE OF
                     V
                              FLORIDA            COUNTY OF              BROWARD


      The forgoing instrument was acknowledgedbefore me this                 3rd            day of October                                     ,2023             who is personally known


      to me or who has Droduced (ID tvoe)
                                                       known to me                                                            Did
                                                                                     as identificationand who                              Mid or did not) take an oath
                                                                                                                                     Det. 18488
      DEPUTY CLERK OF THE COURT. NOTARYPUBLIC. OR ASSISTANTSTATE ATTORNEY                                                              TITLE OR RANK/CCN



      SEVENTEENTH JUDICIAL CIRCUIT                                      FIRST APPEARANCE/ARREST FORM                                                                          Distribution
      BROWARD qOUNTY                                                                                                                                                          Original   -



                                                                                                                                                                                             Court
      STATE OF FLORIDA I                           (S[IOIJI.D ADDIHONAI. SPA< k lt].NI:1DI [) IJSES [Il[: PROHABI I.CAUSE: AI HCAV[[ CONIINUA I ION)                          2.d State Attorney
                                                                                                                                                                              3r? Filing Agency
                                                                                                                                                                              4m Arresting Agency
                        ****
                                FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                        O COMPLAINTAFFIDAVIT
                                                                          PROBABLECAUSE AFFIDAVIT CONTINUATION


     BROWARD COUNTY                                                                                                                                                                                E ARREST FORM
     ARREST #           &                                                                                                                                  OBTS #
     Defendant s Last Narhe         First                     Middle        SUF         Hgt            Wgt         RC        SEX        DOB                Offense Report               Arresting Officcr(s)CCN
                  DEMONS                               JAMELL                           5'8"          120         B          m        05/01/99             90-1901-009039              Det. Steele 19085

     Name o f Victimis) (Ifcorporation,exdct legal name and state o f Incorporation)                                              ADDRESS                                                   PHONE#

     SOF




      Count #           i                                  Offense Charged                                                                             Citation # if Applicable               FS or Capias/Warrant#

                                                                                                                                                                                                  F S.'914.22(1)

                                                                                                                                                                                                 F S. 914 22(2)(e)




                                                                                          Probable Cause Affidavit
     Before me this date personallyappeared Det Garrett Steele                                                                                                                   who being first duly sworn deposes
     and says that on         3rd   day of          October                  ,   2023        at   555 SE 1st Ave. Fort Lauderdale, FL 33301                                      (crime location) the above named
     defendant                                                                                                          believe the same are as follows:
                  comTitted the above offenfs charged and the facts showingprobable                       cause to



    On
         Nvember 21, 2018,           OfficerD    Gowans of the Fort Lauderdale K9 unit with, K-9
    identified as suspect crime scerie from the phone records, within the Jurisdictionof Miramar, Broward County, Florida The K-9 showed
                                                                                                                                          'Gunnerwas requested to.assist in searghir'gthe area
    reaction to an'area on the side          f
                                        the road, approximately 870 feet from the nearest north/south running cross street A closer examination
    revealed a total of (8) .40 cal Blhzer S&W shell casings on the ground next to the roadway in the shoulder. Two different types of shards of
                                                                                                                                           cleai
    glass      bond in close
            were?                      proxi,nity !he
                                      of     shell casmgs The first type of glass was a        glass consistent with the front rigft passenger
    window of thd vehicle and the shcond type was a tinted glass consistent with the right rear passenger side window of the aforementioned
    vehicle This 6nme scene was              drocessed by CSI Currie The casings                               were sent to the BSO crime lab for                            comparison and evhluation, and
    the results revealed the fired casings locate-d matched the fired camng recovered in the car on October 26, 2018. A closer examination of
    the newly discovered crime scehe revealed the vehicle was stopped at this location and weapon(s) were discharged into the vehicle. The
    vehicle madea U-Turn and fled the area The other side of the road also had shardsof glass consistent with the passenger windows of the
    vehicle. The glass
                               shards-were subritted
                                          to the Trace Matenals section of the Florida             of Law
    standards from the Jeep Comphss They were found to be substantially similar and consistent with each other This
                                                                                                                          companson to        Apartment                        Enfoement 6r
                                                                                                                    physica? evidence
    furthers contr6dicted the statenlent made by Henry on the morning of the shooting at the hospital to Detective Moretti ihis was clearly not
    a drive-by     sh6oting and no othjr vehicle pulled next to them and arted shootingas stated by Henry This clearly shows a pattern of
    deceitfulness by Henry all in an effort to mislead this investigation
    On Decembet 5, 2018, Detectn>e Moretti received the autopsy report for REDACTED It stated the wound path on the neck REDACTED                                                                                 was

    from back to front, left to right and upward This was incontrAict on to what was stated that a drive-by occurred on the right side of the
    vehicle, while, In motion REDACTED also has a gunshot wound  to his right shoulder and his chest It should be noted, none f the flight paths
    from the     extehor of the vehicle matched the ound path on the rear of REDACTED head It was obvious the projectile entered from the eft rear
    side of the vehicle
    On December 14, 2018, Dr. R     McDougall (Asst Medical Examiner-Broward County) examinedthe grey Jeep, that was occupied by all
    parties invol@d at the time of the homicide This vehicle has been maintained in secured storage since the incident and continues to be
    maintained in secure storage




      I swear the abdve statement is correct and true to the best of my knowledgeand belief

                                                                                                     Detective G. Steele 19085                                                        DLE/SID-GITF
                                                 /908 S
552, Officer/AfCs Signature
V
                                                                                        Officer'sName/CCN                                                                   Officer's Division

      STATE OF                FLORIDA        COUNTY OF                 BROWARD


     The forgoing instrument was acknowledgedbefore me this                      3rd         day of October                                               '2023             who is personally known


      to me or who has Droduced (ID tvpe)
                                                      known to me                       as identificationand who                     Did               Mid or did not) take an oath
                                                                                                                                              Det 18488
      DEPEERK OFTHE COURT.NOTARY PUBLIC. OR ASSISTANTSTATE ATTORNEY                                                                             TITLE OR RANK/CCN


      SEVENTEEN[rH JUDICIAL CIRCUIT                                     FIRST APPEARANCE/ARREST FORM                                                                                     Distribution
      BROWARD qOUNTY                                                                                                                                                                     Original Court
                                                                                                                                                                                                    -




      STATE OF FLORIDA                           (SI IOt I.[)A[DD] I K) N.U.SPACEH 1. Nl l l)1.1) USI-S [ I[l:PROH.Uil.[:('AtJS[:Al.FIC,\VII CONI IN   A 1 [ON)                          2nd State Attorney
                                                                                                                                                                                         34 Filing Agency
                                                                                                                                                                                         4* Arresting Agency
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                                FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                           O COMPLAINTAFFIDAVIT
                                                                              PROBABLECAUSE AFFIDAV[T CONTINUATION


     BROWARD COUNTY                                                                                                                                                                                   E ARREST FORM
     ARREST #                                                                                                                                                OBTS#
     Defendant'sLast Name               First                      Middle       SUF         Hgt            Wgt            RC         SEX     DOB             Offense Report               Arresting Officer(s)CCN

                 DEMONS                                    JAMELL                           5'8"          120             B         m       05/01/99        90-1901-009039               Det. Steele 19085

     Name o f Victtm(s) (lfcorporation,exdct legal name and state o f incorporation)                                                    ADDRESS                                                 PHONE#

     SOF




     Count #                                                  Offense Charged                                                                           Citation # if Applicable                 FS or Capias/Warrant#

                                                                                                                                                                                                     F.S/91422(l)
                                                                                                                                                                                                    F.S 914 22(2)(e)




                                                                                               Probable Cause Affidavit
     Before me this date personally appeared Det Garrett Steele                                                                                                                    who being first duly sworn deposes
     and says that on         3rd
                                day of.        October          2023     at 555 SE 1st Ave Fort Lauderdale, FL 33301
                                                                                 ,                                                                                                 (crime location) the above named
     defendant committed the above offens'escharged and the facts showingprobable cause to believethe same are as follows.


    On January 11, 2019, Detectivef Moretti received confirmation from the Medical Examiner's office that the entry wound on the left side of
    REDACTED face was an intermediAte wound. It should be noted there was a 3cm stippling pattern around the entry wound. This was also In
    contradiction to what Henrystat6d to Detective Moretti at the hospital when he attemp6d to mislead Detective Moretti Into believingthis
    was a driveby shooting TAis eJidence shows, the initial Iethal shot occurred from inside the vehicle and was initiated from the left rear
    passenger side, the same position occupied by Demons An intermediate wound by definition, would indicate a distance of 3 inches to 3
    feet beGeen the victim and welpon, howeverdue to a 3cm stippling pattern the weapon was in a close proximity to REDACTED head The

    gunshotwounds to the back of REDACTED also indicatesthose wounds were inflicted after he was shot in the head as the proActiles entered
    REDACTED bacN when he was Ieabing to the left and show no hemorrhaging which is indicative of post-mortem infliction EvidJnce from the
    autopsy revealedthat both victi'!ns'woundpaths to their heads were f/oma left to right direction This directly contradictsthe statements
    made by Henry and does not                   sdpport the statements of                 a   drive-by shooting that occurred on the nght side olF the vehicle
    In   2022-and 2023, Detective ChristopherWilliams ofthe Broward Shenffs Office Cnme Scene Un? conducted an in-depth analysis of the
    Jeep   CompaJs for the purpose 6f DOING                    a   shooting reconstruction.Detective Williams opined that the projectilestrike marks onthe side of
    the vehicle    ar{3     not consistent with a drive by shooting, and that an individual was seated in the rear driver's side seat when the initial, fatal,
    shots were fired REDACTED                                      and REDACTED
    A Search Warrant was                requesteld for the Snap Chat A ccount of Demons, The warrant was reviewed and later approved by REDACTED Orlando
    The direct messaging of the
                                                Sn,p Chat account of Demons revealed he                                       was    communicating with his girlfriend                                              on

    11/09/2018 (Just 14 days after the homicide) and he stated, "Dis n* saved my life he koming everywhere wit me kuz if dem crackers come
    grab him
             its my fault forgot.7r
                                                                                                                                                                                          "
                                    "1 keep Bortlen wit kuz at da end of the day he did
                                    u                                                                                                            one of a realist shit in my life             These statements
    reference Demons'        and Association with
                                loyalty                         also         that
                                                                             Henry, They                     suggest                    Henry    was    loyal to him because he Is the one who drove the
                                                         These statemlnts       support the b;Iief by law enbrcementhat Demons the
    bodies to the hospitaland
                              dealtwith law enforcement.
    shooter, and the evidence lead# back to                     him
                                                and any further cooperation by Henry would be               Demons This
                                                                                                                               also
                                                                                                                             also
                                                                                                                                                                                                                    is

                                                                                              damaging to                 warrant
    reveals there was no communidation between DemJns and REDACTED on 10/26/2018 as previously statA to law enforcementby REDACTED
    REDACTED         s commonly rferred to as REDACTED in messages by Demons. For example, on Odober 12, 2018, Demons contacted

                                              and asked him 6 go io REDACTED
    o-defendant,Cortlen  Henry
                                                viamessagyng
    Cortlen Henry was saved as a dontact "Bort" in the phone used by Demons. See below
                                                                                      s address In Cocoa and referred to it as REDACTEDhouse,'

     I swear the above statement Is correct, and true to the best of my knowledgeand behef



    Am- -ZMM+,
          Signature?
                     /9Ot.5
                                                                                                         Detective G Steele 19085                                                       DLE/SID-GITF

g;7 Officer/Ag*t's                                                                          Officer'sName/CCN                                                                 Officer's Division

     STATE OF                FLORIDA              COUNTY OF                 BROWARD


     The forgoing Instrument was acknowledgedbefore me this                          3rd         day of October                                             ,2023             who is personally known

                                                          known to me                                                                      Did
     to me or who has Droduced (ID tVDel                                                   as identificationand who                                     Mid or did not) take an oath
                                                                                                                                                  Det 18488
     DEpu#eEEMrOFTMECOURT, NOTARY PUBLIC. OR ASSISTANT STATE ATTORNEY                                                                                TITLE OR RANK/CCN


     SEVENTEENTH JUDICIAL CIRCUIT                                            FIRST APPEARANCE/ARREST FORM                                                                                     Distribution
     BROWARD COUNTY                                                                                                                                                                        Original Court
                                                                                                                                                                                                      -




     STATE OF FLORIDA                                (Sl]OIJI l) AD])1 [ [ONA[.SPACI I,1'Nl:I.DI,D tJSI,B [I[1. PROIt.U       I:CAUSE AMF Ie.W!I COM'IN[JAI [ON)                           2nd State Attorney
                                                                                                                                                                                           3'd Filing Agency
                                                                                                                                                                                           dtth ArrestingAgency
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                                                                                               O COMPLAINTAFFIDAVIT
                                                                                  PROBAB[ACAUAE AFFIDAVIJ CONTINUATION

      BROWARD COUNTY                                                                                                                                                                             E ARREST FORM
      ARREST #                                                                                                                                          OBTS#
      Defendant'sLast Nhe                  First                       Middle       SUF        Hgt          Wgt      RC         SEX    DOB              Offense Report               Arresung Officer(s)CCN

                 DEMONS                                           JAMELL                       5'8"      120        B           M     05/01/99          90-1901-009039              Det. Steele 19085

      Name of Victim(s) ([f corporation.exkict legal name and state of Incorporation)                                               ADDRESS                                             PHONE#

      SOF
                             '

      Count#                 I                                       Offense Charged                                                              Citation # if Applicable                FS or Cdpias/Warrant#
                                                         '
                         I       Nibb IAMPERING                                                                                                                                                 F.S:914.22(1)
                                                                                                                                                                                              F.S. 914.22(2)(e)
                                                                                         A      r
                                                                                    I

                                                                                   Li
                                                                                     9=J

                         I                                                                       Probable Cause Affidavit
      Before me this date personallyappeared Det. GarrettSteele                                                                                                               who being firstduly sworn deposes
      and sa,s that oh             3rd     day of               October             ,   2023      at   555 SE 1st Ave. Fort Lauderdale, FL 33301                              (crime location) the above named
      defendant cominilted the above offenses charged and the facts showingprobable cause to believe the same are as follows

                                                                                                                                                                                         High


                 0                                                                                             +17727139807YoungsackchaserHowgrd


                                                                                                               Nvm just go REDACTED house her moma gone give it too u


                                                                                                              a- S-,t
                                                                                                              D--,d: 10/12/20183.1801PM(UTC-4)
                                                                                                              Aiad: 10/12/20183-18 12 PM(UTC-4)

                                                                                                                                                                 10/12/201831801 PA*UTC-4)




                                                                                                                                                                                         High


                         1               +15617203210Bort


                                         Ight foo send her addy

                                         St-a Re@d
                                         R-d. 1[W1212018 3:2005 PM(UTC-4)

                                                                                10/12/20183-19:49 PM(UTC-4)




                                                                                                                                                                                         High

                     I                                                                                                  +17727139807 Younqsackch@serHoward

                                                                                                                     REDACTED




                                                                                                                     Sl:IUI Sld
                                                                                                                     D?w? 10/12/2018 3 20.08 PM[UTC-4)
                                                                                                                     R-t 10/12/2018 4 01 30 PMOJTC-4)

                                                                                                                                                                 10/12/201832008 PM<UTC-4)




                                                                                                                                                                                         High


      I swear ihe abbve statement Is correct and true to the best of- my knowledgeand belief



   hZm- 1822 Det.Lgors                                                                                   Detective G. Steele 19085                                                 DLE/SID-GITF

(>/ Officer/At-s Signature
C,
                                                                                                Officer'sName/CCN                                                        Officer's Division

      STATE OF       ?             FLORIDA           COUNTY OF                  BROWARD


      The forgoing instrument was acknowledgedbefore me this                            3rd        day of    October                                ,
                                                                                                                                                        2023             who is personallyknown


      to me or who has Droduced (ID tvDe)                        known to me                                                          Did
                                                                                               as identificationand who                           (did or clad noO take an oath

                                                                                                                                            Det. 18488
      DEPUT1-CUEIE-OF-THE COURT, NOTARY PUBLIC, OR ASSISTANTSTATE ATTORNEY                                                                    TITLE OR RANK/CCN


      SEVENTEENTH JUDICIAL CIRCUIT                                               FIRST APPEARANCE/ARREST FORM                                                                         Distribuuon
      BROWARD COUNTY                                                                                                                                                                  Original   -
                                                                                                                                                                                                     Court
      STATE OF FLORIDA                                       (S] [()IJI.f)ADDITIONAL SPACE RF Nl]EDED USES THE PRORABI,ECAUSE AFFICAVIT O INTINUATIONi                                2nd State Attornev
                                                                                                                                                                                      3rd Filing Agency
                                                                                                                                                                                      4'? Arresting Agency
                       ****
                                FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                     O COMPLAINTAFFIDAVIT
                                                                        PROBABLECAUSE AFFIDAVIT CONTINUATION


      BROWARD COUNTY                                                                                                                                                             E ARREST FORM
      ARREST #                                                                                                                            OBTS#
      Defendant'sLast Name           First                    Middle      SUF         Hgl            Wgt     RC       SEX    DOB          Offense Report             Arresung Officer(s)CCN
                  DEMONS                                JAMELL                       5'8"            120     B       m      05/01/99      90-1901-009039             Det. Steele 19085

      Name of Viclim(s)(If corporation,exct legal name and state o f incorporation)                                      ADDRESS                                        PHONE#

      SOF



      Count#                                               Offense Charged                                                             Citation # if Applicable           FS or Cabias/Warrant#

                                                                                                                                                                               F.S.i914.22(1)
                                                                                                                                                                             F.S     914.22(2)(e)




                                                                                       Probable Cause Affidavit
      Before me thus date personallyappeared Det GarrettSteele                                                                                               who being first duly sworn deposes
  -
      and sa>s that on        3rd    day o f          October             ,   2023          at 555 SE      1st Ave. Fort Lauderdale, FL 33301                (crime location) tile above named
      defendant comrhitted the above offens'escharged and the facts showingprobable cause to believethe same are as follows


  On December 04, 2018, Demons in an effort to promote his music career released a documentary on YouTube. Throughout the 21-minute
  documentary, IDemons glonfied,his use and possession of firearms. Demons stated he's been carrying a gun since he was in fourth grade.
  This Is also consistent with statdments obtained during this investigation, regarding Demons always In possession of a firearm. At the end
  of the documentary,the final screen displays these words                                  Four days after the completion of this film, YNW Melly and his fri6nds were

  targets of a drive-byshooting in Miami, Florida. This is significant as tt places Demons at the scene of the crime in the vehicle with Henry,
  REDACTED
  An Instagram warrant was
                             authnzed by the Honorable Michael Lynch on the account belonging to Jamell Demons Identifiedat "ynwmelly'
  In January of 2019. The account included a conversationwith an individual identified by the username                        reached out
  to check 6n the well-being of Nmons after the deaths of REDACTED          and REDACTED             had beenrnide public on social
  media. Demohs respqnde-dwith, "I did that" "shhh". See below selection from Instagram records production.
                    Id i28418761322998867197145353467985920
                 TIme 2018-10-2620:02:18
                                       UTC
             Item Type text
             Thread Id ,340282366841710300949128188642079399651
                 Text Id,d that CID
               Author ynwmelly(2463345!8)
            Redplents m.vmelly(246334518)
                      peezy-gamblno{7694729659]
                   tdI284187613705313aS8618679246276526o8
                 nme 2018-10-26 20.02:20 UTC
             MM Uxt
             ThreadId 340282366841710300949128188642079399651
                  Text' Shhhh
              Author My (246334518)
            Mmm,euymw34518)
                     peezy.gamblno(1694729659}
  REDACTED                    gave two swo<n statements to law enforcementduring the course of the investigation Her REDACTED                                                                  also
                                               T
  gave a sworn statement to Detctive Moretti. In the statements REDACTED     and Ms. REDACTED indicate that Jamell Demons                a                                           ompleted
  video-call REDACTED         in the early morning hours of October 26, 2018, stating that he was just involved in a drive-by Shooting. They
  also indicatedthe Defendant uded the 772-713-9807 phone number. Ms REDACTED then called the Defendant's REDACTED                                                                            This Is
  corroborated by phone records showing Ms. REDACTED calling REDACTED                                            and then REDACTED         calls Mr Demons phone repeatedlywithout
  any answer REDACTED               then switches to trying to contact Mr. Demons via Instagram.

      [ swear the above statement is correct and true to the best ot my knowledge and belief

                                                                                                 Detective G. Steele 19085                                           DLE/SID-GITF
  hib?M? tzAC M. 1908S                                                               Officer s Name/CCN                                                Officer'sDivision
Cimcerimm.Bnature
      STATE OF                FLORIDA          COUNTYOF                BROWARD


      The forgo[ng instrumentwas acknowledged before me this                  3rd           day of    October                             2023         who is personallyknown


      to me or who has produced (ID tvpel
                                                       known to me                                                          Did
                                                                                     as identificationand who                         Mid or did notl take an oath
                                                                                                                                   Det. 18488

  eEPGY CLERK OF THE COURT, NOTARY PUBLIC, OR ASSISTANT STATE ATTORNEY                                                              TITLE OR RANK/CCN


      SEVENTEENTH JUDICIAL CIRCUIT                                     FIRST APPEARANCE/ARREST FORM                                                                   Distribution
      BROWARD COUNTY                                                                                                                                                                 Court
                                                                                                                                                                      Original
                                                                                                                                                                                 -




      STATE OF FLORIDA                             (SI [OU[ [) ADDITIONAL SPACL Bl M]:DED USE' TIIE PR{-*MRIE CAUSE AFFICAVIT CONTIN[JA'IlONi                         2.d State Attornev
                                                                                                                                                                      3rd Filing Agency
                                                                                                                                                                      4'b Arresting Agency
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                                                                                           O COMPLAINTAFFIDAVIT
                                                                              PROBABLECAUSE AFEIDAVIT CONTINUATION

 BROWARD COUNTY                                                                                                                                                                                  E ARREST FORM
 ARREST #                                                                                                                                                 OBTS#
 Defendant s Last Karrie          First                           Middle        SUF         Hgt           Wgt         RC       SEX       DOB              Offense Report               Arresung Offcer(s) CCN
              DEMONS                                       JAMELL                           5'8"          120        B         m        05/01/99         90-1901-009039               Det Steele 19085
 Name of
            Victim(s) ([f corporation,exact legal name and state of incorporation)                                                 ADDRESS                                                 PHONE#

 SOF




  Count #                                                     Offense Charged                                                                        Citation # if Applicable               FS or CaDias/Warrant#

                WITNESS I                                                                                                                                                                        FS    91422(1)
     ;                           AMPERING,
                                                                                                                                                                                                F.S. 914.22(2)(e)




                     1                                                                          Probable -Cause *ffidayit
 Before me this date personallyappeared Det. Garrett Steele                                                                                                                     who being first duly sworn deposes
 and says that oni         3rd    day of                October                 ,   2023          at   555 SE 1st Ave Fort Lauderdale, FL 33301                                 (crime location) the above named
 defendant committed the above offensbs charged and the facts showingprobable cause to believethe same are as follows.
                                             '
Jamell Demoris and Cortlen Herjry were each Indicted for two counts of Murder in the First Degree on February 7, 2019. Jamell Demons
was then      indidted on a superseding indictmnt on
                                                                                 Februay 22 709: for Murdtr in the Firt Dpret with the criminal gang eAhancement
Mr. Demons has remained in th@ custody of the Broward Shenffs Office since February 13, 2019 Cortlen Henry was granted bond by the
Honorable Andrew Siegel on                 Jube 1, 2020, and posted said bond on June 26,2020 Mr Henry violated the pre-trial cAditionsand was
taken back into custody on Apnli 14, 2021, but was granted bond again on August 24, 2021 Mr. Henry has been court ordered to have no
                                            '1   .




contact with any of the civilian Witnesses, directly or indirectly Mr                                        Henry per the June 1, 2020, order in Case Number 19-00 1 871 C F 1 OA, is
not allowed to have contact with Jamell Demons In the August 24, 2021, order for the subsequent release, the no contact with Jamell

Demons was again included
                                          REDACTED the only exception being if both counsel for Demons and Henry were present.
REDACTED                   and                           were listed as witness for the State of Florida In the Initial                                      discovery filing of April 9, 2019, and pursuant
to their request, their addresses were not listed, but instead the Office of the State Attorney agreed to accept service on                                                                     theiJ behalf
Defense counsel for Demons artd Henry coordinatedthe deposition REDACTED                                                                          to take REDACTED on November 24, 2021, REDACTED
REDACTED on Ndvember
                    10, 20?1.? At this point, they becam-e unco-operative with th-frose-cution.             REDACTED
served by Investigator Bruce D4wdy of the 18th Judicial Circuit State Attorney's Office The HonorableAndrew Siegel signed an Order to
                                                                                                                                                                                                                      were



Show Cause
           #s to both individu6ls,-and then February 23,2022, signed a-certificate to procure witnesses REDACTED
                                                                         on                                                                                                                                REDACTED
REDACTED On November 21, 2022, REDACTED                                          was located in the US                   Virgin Islands where she had traveled under an assumed identity
and had a drivers license in hel possessionthat belonged to another individual. The certificate to REDACTED                                                                                           Is still active,

and Ms REDACTED has not been brought before the Court
REDACTED                 sent screenshotb of an Instagram conversationto Detective Morettt showing that Cortlen Henry, while he was out on bond
the first time, had engaged in        sclme commuhcation with Ms REDACTED Ms. REDACTED told Mr. Henry that if REDACTED           "told on Melly" he
would be getting           thedeth perdlty, and that Melly "hypothetically told her everything Ms REDACTED continued on stating, "She didn't tell
                                                                                                                                             "




them ppI     hat he told her or thre would never b; any getting oJt for him but snce -all y'all gunning gor her & she's scared for her life.
On April 10,2023, the first trial if Jamell Demons commencAI before the HonorableJAhn Murphy The trial resulted in a hung Jury and the
case Is scheduled for October 9,2023, to commence with                                          jury selection



 I swear the above statement ts correct and true to the best o f my knowledgeand belief.

                                                                                                                                                                                     DLE/SID-GITF
                    IBAIJL            Det.19083
                                                                                                          Detective G Steele 19085
                                                                                            Officer s Name/CCN                                                             Officer's Division
                U
 STATE OF                  FLORIDA          COUNTY OF                      BROWARD


 The forgotng instrument was acknowledgedbefore me this                             3rd           day of October                                         ,2023             who is personally known

                                                          known to me                                                                  Did
 to me or who has produced (ID tvDel                                                       as   identificationand who                                Mid or did not) take an oath
                                                                                                                                                 Det 18488
 Gef67Y CLERK OF THE COURT.NOTARY PUBLIC. OR ASSISTANT STATE ATTORNEY                                                                             TITLE OR RANK/CCN


 SEVENTEENTH JUDICIAL CIRCUIT                                                 FIRST APPEARANCE/ARREST FORM                                                                              Distribution
 BROWARD COUNTY                                                                                                                                                                         Origmal   -



                                                                                                                                                                                                    Court
 STATE OF FLORIDA                                    (b[[OIJ[,D AIDDI   ONAI. SPAC E BI NEEDI-]).IJS Ib    IliPRO]M] l E C AIJSE ,\H ICAV I (:O NI INIJAI [ON)                          2ni State Attorney
                                                                                                                                                                                        34 Filing Agency
                                                                                                                                                                                        4'b Arresting Agency
                         ****
                                   FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                           O COMPLAINT AFFIDAVIT
                                                                              PROBABLECAUSE AFFIDAVIT CONTINUATION

      BROWARDCOUNTY                                                                                                                                                                    ? ARREST FORM
      ARREST #                                                                                                                                 OBTS #
      Defendant'sLast Namb              First                      Middle       SUF         Hgt            Wgt    RC    SEX    DOB             Offense Report               Arresting Officer(s)CCN
                  DEMONS                                   JAMELL                           5'8"         120     B      m     05/01/99        90-1901-009039               Det Steele 19085

      Name o f Victim@) (lf corporation,exa#t legal name and state of incorporation)                                        ADDRESS                                             PHONE#

      SOF




      Count #                                                 Offense Charged                                                             Citation # if Apphcable                FS or Capias/Warrant#

         t       .
                     WIYNESSTAGL                                                                                                                                                      F S 914 22(1)

                                                                                                                                                                                     F S. 914 22(2)(e)




                                                                                                Probable Cause Affidavit
      Before me this date personally appeared Det. Garrett Steele                                                                                                    who being first duly sworn deposes
      and says that on           3rd    day of.         October                 ,   2023          at   555 SE 1st Ave. Fort Lauderdale, FL 33301                     (crime location) the above named
      defendant commimed the above offensds charged and the facts showing probable cause to believe the same are as follows

  BSO Case #90-1901-009039
                     Detdctive Garrett Steele was assigned to this investigation regarding witness tampering in September of 2023 Detective Danny
  Polo became involved In the criminal case regarding Jamell Demons in February of 2022 when contact to review documentationto
  determine whether or not                 Demobs was a criminal gang member Separately, Detective Polo had previously conducted an investigation into
  James
              H-war{I        (B/M/
                                       D.9 B 10123/1994) under BSO Case Number 90-201-00-5-731.James Howar? iscuentlyincarcerated at the
  Broward County Main Jail and hAs been in the custody of the Broward Shenffs Office since October 28,2020. James Howard Is currently
  being prosecuted by the Office df the Statewide Prosecutions for one count of Conspiracy to Commit Racketeering As part of the
  investigation, [)etecttve Polo
                                                peodically
                                           monitors the jail calls
                                                                   of.James Howard Each inmate is assigned a partiular number and pin code
  to access the recorded and monitored Jail phone system Jamell Demons does not have phone privileges due to disciplinary actions while in

  custody. Detective Polo, while            the calls-of James Howard, heard discussionsabout Howard communicating with Mr Demons
                                                  J,onitoring
  and passing messages These bhone conversationsthen lead to Detective Polo requesting, in August of 2023, Broward County Shenffs
  Office Detenti*n Communicatiot>s Supervisor Kathleen Casey to provide any and all calls from James Howard for the previous twelve
  MoM? aswasall REDACTED and
  (561) 909-89Q5 Based upon a feview of the calls the following information was determined as to who was communicating on the vanous
  phone numbek.
  REDACTED           REDACTED-

                                               known girlfriend of Jamell Demons Prior to his phone privileges being suspended, there were
                                                               -




  hundreds of call to this Individual REDACTED    has corresponded with Demons via postcards and phone calls for the last few years.
  (954) 859-0795 Unknown as t6 the individual on the phone at this time This phone number facilitated a three-way call on behalf of Mellr
                                                                                                                                                                                                      "
                             -




  to 786-282-2997, which was determinedto belong to Jameson Francois

  (786) 282-2997             -

                                 Phone numbdr for "Travis" which was identified as actually being Jameson Francois. The phone number is associated
  with his wife, Adria Scott

  (786) 314-4753 Ileana Ingram is the listed subscriber, and James Howard Indicated that he was calling on behalf of "J"
                             -




  (561) 909-8905 Cortlen Henry
                             -




      I swear the above statement is correct and true to the best of my know Iedge and belief

                                                                                                                                                                          DLE/SID-GITF
 -Cemx 15222 Det.igoRS                                                                                   Detective G Steele 19085


;>'
                                                                                            Officer s Name/CCN                                                  Officer's Division

      STATE OF                   FLORIDA          EOUNTY OF                 BROWARD


      The forgoing instrument was acknowledgedbefore me this                        3rd           day of     October                          '2023             who is personally known


      to me or who.has Droduced (ID tvoe)
                                                          known to me                           identificationand who         Did
                                                                                           as                                             Mid or did non take an oath
                                                                                                                                    Det 18488
      D@fLERK OF THE COURT, NOTARY PUBLIC. OR ASSISTANT STATE ATTORNEY                                                                TITLE OR RANK/CCN


      SEVENTEENT.H JUDICIAL CIRCUIT                                         FIRST APPEARANCE/ARREST FORM                                                                     Distribution
      BROWARD COUNTY                                                                                                                                                         Original Court
                                                                                                                                                                                       -




      STATE OF FLORIDA                               (Sli(MJI.D A[)D]I IONA[. SPACI:HE.NI.I.1)[-[)US [6 I IIl.          AFFICAVI I'COXI iNIJA][ON)                           2'u State Attorney
                                                                                                                                                                             34 Filing Agency
                                                                                                                                                                             4tb Arresting Agency
                   ****
                           FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                      O COMPLAINTAFFIDAVIT
                                                                          PROBABLECAUSE AFFIDAVIT CONTINUATION


 BROWARD COUNTY                                                                                                                                                                             E ARREST FORM
 ARREST #                                                                                                                                             OBTS#
 Defendant s Last Name         First                          Middle       SUF         Hgt           Wgt         RC        SEX      DOB              Offense Report             Arresting Officer(s)CCN
             DEMONS                                    JAMELL                          5'8"         120         B         m        05/01/99          90-1901-009039             Det Steele 19085

 Name o f Victim(s) (Ifcorporation,exact legal name and state of incorporation)                                                ADDRESS                                              PHONE#

 SOF




 Count #                                                  Offense Charged                                                                        Citation # if Applicable            FS or Capias/Warrant#

               WITNESSTAM@EAINC                                                                                                                                                           F S 914 22(1)

                                                                                                                                                                                        F S 914 22(2)(e)


                                                                                             GS.-?
                                                                                           Probable Cause Affidavit
 Before me this date personallyappeared Det. Garrett Steele                                                                                                            who being first duly sworn deposes
 and says that on    3rd    day of        October         2023              ,                at 555 SE 1st Ave Fort Lauderdale, FL 33301                               (crime location) the above named
 defendant comnjitted the above offensbs charged and the facts showingprobable cause to believethe same are as follows
                                             1
Inmate Terrence Mathis (B/M/ D O.B                     10/19/1983) made more than 60 phones calls to Cortlen Henry between March 2023 and August
2023. Mathis is currently awaitirig tnal on First Degree Murder. Mathis has been in the Broward County Sheriff's Office Custody since
August 23,2038 Demons has developed a sophisticated system to communicatewith individuals outside of the Broward County jail,
in-clud'ng
2023,  and
           co-clefendant Cortlen
            made the following observations'
                                            !enry.
                                       Deputy David Alvarez of the Broward Sheriffs Office Main Jail reviewed the video from August 21,




can notice     Demons motion towards the adjacent unit which is Unit 5C 3                                           The inmate who he was speaking to then points towards the same
unit to confirm what       Demonswds referring to
At 17:11.23
                 hpurs Demons tossks what appears to be a note/letterunder his assigned cell door 5C 2-9

At 17.27. 08 hours the same             inrhate from 5C 2-10 6sses what appears to be multiple notes/letters under the door that leads into Unit 5C3
                    the                of
?a???-?frmi               d-ayroom          Hnit 5C2
inmate complies


toss It back to the adjacent Unit 5C3                 Appears that Is/was one of his notes that did not make it over to the adjacent Unit 5C3




 [ swear the above statement iS correct and true to the best of my
                                                                                  knowledgeand belief

22-= .t?                     Det. 1908S                                                            Detective G. Steele 19085                                                DLE/SID-GITF

                                                                                       Officer's Name/CCN                                                        Officer s Division
           V
 STATE OF                FLORIDA            COUNTY OF                  BROWARD


 The forgoing instrument was acknowledgedbefore me this                         3rd          day of October                                         ,2023        who is personallyknown


 to me or who has produced (ID tvDel                  known to me                                                                 Did
                                                                                      as   identification and who                               (did or did not) take an oath
                                                                                                                                         Det 18488
 DEPL!?              )F THE COURT, NOTARY PUBLIC, OR ASSISTANTSTATE ATTORNEY                                                                TITLE OR RANK/CCN



 SEVENTEENT.H JUDICIAL CIRCUIT                                          FIRST APPEARANCE/ARREST FORM                                                                             Distribution
 BROWARD COUNTY                                                                                                                                                                  Original   Court
                                                                                                                                                                                            -




 STATEOF FLORIDA                                 {SI[OULD AD[)]] [ON,\I. SPACE HI NI:i-1)1-D US13 r]11 PI{OIBA!]I.1.C,IJSE ,\FI-IC.lVII CONrl INIJA] ION)                        2nl State Attorney
                                                                                                                                                                                 yd Filing Agency
                                                                                                                                                                                 4,? Arresting Agency
                            ****
                                   FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                            O COMPLAINTAFFIDAVIT
                                                                               PROBABLECAUSE AFFIDAVIT CONTINUATION


     BROWARD COUNTY                                                                                                                                                                                   E ARREST FORM
     ARREST #                                                                                                                                               OBTS#
     Defendant s L.ast Name          First                         M,ddle        SUF         Hgt             Wgt       RC        SEX       DOB              Offense Report                 Arrestlng Officer(s)CCN
                  DEMONS                                     JAMELL                          5'8"            120      B         m        05/01/99           90-1901-009039                Det Steele 19085

     Name o f Victim(s)(I f corporation,exabt legal name and state o f incorporation)                                                ADDRESS                                                   PHONE#

     SOF




      Count #                                                   Offense Charged                                                                        Citation # if Applicable                 FS or Capias/Warrant#

                    w/ITNESSTAMPERING                                                                                                                                                                F S. 914.22(1)

                                                                                                                                                                                                    F S    914.22(2)(e)
                                                                                  dl.-3
                                                                                               Probable Cause Affidavit
     Before me this date personallyappeared Det Garrett Steele                                                                                                                    who being first duly sworn deposes
     and says that on          day of:
                              3rd             October           2023    at 555 SE 1st Ave. Fort Lauderdale, FL 33301
                                                                                  ,                                                                                               (crime location) the above named
     defendant committed the above offenskscharged and the facts showingprobable cause to believethe same are as follows.
                                                   1
    Main Jail Camera Unit 5 C Unit 3, August 21, 2023, starting at 17 26 hours ending at 19:00 hours.
    At 17.27.10 hours notes/letters Jtart tJ appear in camera                                 view being sent from the adjacentdayroom Unit 5C 2.
    At 17.27 24 hours an inmate              be6ins to gather the notes/letters by kicking them to the bottom landing of the unit. Once the notes/letters
    were kicked       td the bottom landMg the sme inmate continued to-kick the-m down towards the shower in the area of Cell 8
    At 172742 hours an inmate                caA-be seen trying to look under the door that enters the adJacent Unit 5C 2
    At 17 27 51 hours a note/letters appears in camera view and an inmate retrieves it by kicking it down to the bottom landing
    At 1728'20 h6urs both inmates who collected the notes/letters begin to approach who appears to be inmate Howard, James and hand
    them over to him.
    At
       1I 35 ? hpurs Inmate Howad comes in camera view reading a letter and walks towardsthe telephone to read the letter
    At 17.37:49 h6urs inmate Howard attempts to make a phone call.
    At 17:38:10 hours inmate Howak pulls out notes/letters out of his left chest pocket
    At 1836:45 hgurs inmate             Howak is          seen on the           phone.
    At 18:38:00 h6urs inmate            Howad is seen on the phone
    At 18:45-14 hours inmate Howatd ends the call


    A review of James Howard's
                                             phne calls from the Securus system shows that the two phones call were made to Erran Simone Barnett and
    Cortlen Henry. On August 21, 2023, at 17'40-10, there was a brief call to 561-909-8905, identified as Cortlen Henry's number. At 18 41 47,
    the phone call was completed REDACTED                                                 During the phone calls with Cortlen Henry, he is asked
                                                                               the phone number for REDACTED
    to send    mone? through CashAp and declines to do so. During the call REDACTED           , Mathis says he is calling on behalf 6f her
    husband and then asks her to cbmplete a three-way call to "Travis" and verifies the last four digits at ending 2997. Barnett then venfies that
    it was the '786' number that sh? was calling




     I swear the above statement is correct and true to the best o f my knowledgeand belief

                                                                                                         Detective G Steele 19085                                                        DLE/SID-GITF
   Zxn= 1.?                           Dct. 1908S
g>/Officer/AfES;sSignature                                                                   Officer     s   Name/CCN                                                        Officer   s Division


     STATE OF                 FLORIDA         COUNTY OF                     BROWARD
                        '




     The forgoing instrument was acknowledgedbefore me this                           3rd         day of October                                           ,2023             who is personally known


     to me or who has Droduced (ID tvne)
                                                            known to me                                                                 Did
                                                                                            as identificationand who                                   Mid or did not) take an oath
                                                                                                                                                 Det. 18488
     DEPUIXJ.BRK OF THE COURT, NOTARY PUBLIC, OR ASSISTANT STATE ATTORNEY                                                                          TITLE OR RANK/CCN

                                               1
     SEVENTEENTH JUDICIAL CIRCUIT                                             FIRST APPEARANCE/ARREST FORM                                                                                  Distribution
     BROWARDCOUNTY                                                                                                                                                                          Original Court
                                                                                                                                                                                                       -




     STATE OF FLORIDA                                  ib IOIJI I) AI)1)11IONAI.SPACEHIi N 1 [ Dl,D IJS l-N IHI N ) IJ,\M (.AIJS[:.Ul [CAV I i Cl)Nl INIJAI ION)                            2nd State Attorney
                                                                                                                                                                                            34 Filing Agency
                                                                                                                                                                                            48 ArrestingAgency
                       ****
                                   FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                                  O COMPLAINTAFFIDAVIT
                                                                                    PROBABLECAUSE AFFIDAVIT CONTINUATION


     BROWARD COUNTY                                                                                                                                                                                                E ARREST FORM
     ARREST #           [                                                                                                                                                 OBTS#
     Defendant'sLast NarWe              First                         Middle          SUF          Hgt             Wgt          RC         SEX         DOB                Offense Report                Arresting Officer(s)CCN
                 DEMONS                                        JAMELL                              5'8"           120          B           m         05/01/99             90-1901-009039                Det. Steele 19085

     Name o f                                                                             of incorporation)
                Victim(s) (If corporation,exact legal           name and state                                                                  ADDRESS                                                     PHONE#

     SOF




     Count#                                                        Offense Charged                                                                                  Citation # if Applicable                 FS or Cabias/Warrant#

       -:1         WITNESSIAMPERLNC                                                                                                                                                                               F S   914.22(1)
                                                                                                                                                                                                                F S 914 22(2)(e)




                                                                                                       ProbableCause Affidavit
     Before me this date personallyappeared Det Garrett Steele                                                                                                                                    who being first duly sworn deposes
     and says that on            3rd    day of:             October                   ,   2023          at 555 SE 1st Ave                 Fort Lauderdale, FL 33301                               (crime location) the above named
     defendant comnimedthe above offensbs charged and the facts showingprobable cause to believethe same are as follows
                                                    '
    On September 1,2023, Broward Sheriffs Office detention deputies searched the cell of Terrance Mathis The following "phone books" were
    recovered.     Th4y also further de6onstrate
                                       '
                                                that individuals                                       were using code words and false names to try and prevent                                              Iiw enfbrcementfrom
                                                                                                                                                                                              .   r

    uncovering the scheme. The bobks listed "Kuh 561-909-8905", and other contacts such as 'Ole Girl Melly, 'Brozay (Bort) Melly Peeps
    5619098905"Aher names and numbers indicated that they were "(3 way only)" and theri list 'Jamell Demons (Melly) Trak Manager #
                                            "                                                     "

    78628229977' 'GSHINE' and, "Simone #4692978441

    On April 19,2023, at 19 11 20, Inmate Terrance Mathis places a phone call to (561) 909-8905, Cortlen Henry, and begins to relay
    messages After a few messages to individuals to thank them for showing up to support him itt court, the following exchange occurs
    between Mr Henry and Mr Mathis


    Mathis             Tell you REDACTED                          make sure she hood, tell her keep vii:)in' in the maybach like she been doing, don't pop out this shit
    almost over with, I heard she                 'pJsed to be pulling up probably kap though, but tell her.
    Henry                         Man, no       man, Tell him, man, shut the fuck up, tell him to stop talking about that
    Mathis                       Tell her fall bike, I ain't put this wild ass shit, fall bike
    Henry                        Man, I ain't talking no more about that Move on to the next one
    Mathis'                      Hold on, I goqa read the whole card I don't know what's what Tell her keep doing what she's doing Tell her I love her
    and miss her §0 much I'm going to eat her like some ice cream when I touch down


    During this call while Mathis Is tfying to give directionsto Cortlen Henry about REDACTED         away from court, Henry is obviously
    uncomfortabl4 and does not want those directions being given over the recorded call-Henryalready knows his job of keepin? her away
    court and there is no reason to ontinue to talk about it-Henry states "tell him REDACTED already vibin in the Maybach, I don't know whee he
    be getting hisinforrnationbut jukt tell him to vlbe though Henry is telling Mathis to reassure 6emons that everything is under control tn
                                                                                                   "




    reference to keeping her away from court




     I swear the above statement is correct,and true to the best of my knowledgeand belief

                                                                                                                                                                                                       DLE/SID-GITF
  hm-=-t@C
        Signature
                  net.igors
                                                                                                                 Detective G Steele 19085

? Officer/AffiPs                                                                                   Officer's Name/CCN                                                                      Officer's Division

     STATE OF                    FLORIDA           (EOUNTY OF                   BROWARD


     The forgoing instrument was acknowledgedbefore me this                               3rd           day of October                                                  ,2023              who is personallyknown


     to me or                          (ID tvpe)             known to me                         as identificationand who                           Did             fdic! or did not) take an oath.
                whoroduced                                                                                                                                  Det 18488
                             '


                                 THE COURT, NOTARY PUBLIC. OR ASSISTANT STATE ATTORNEY                                                                         TITLE OR RANK/CCN


     SEVENTEENTH JUDICIAL CIRCUIT                                                 FIRST APPEARANCE/ARREST FORM                                                                                           Distribution
     BROWARD COUNTY
                                                                                                                                                                                                         Original Court
                                                                                                                                                                                                                   -




     STATE OF FLORIDA                                   (b IK )IJ[.I)AI M)11 [()NAI. SPAC.I: it]:N [:[ Dl l) U# ]J r]1E PR{ )1,AI, I E CAIJSI: A F FICAL'11 CO KI 1NtJA 1 ION)                           2nd State Attorney
                                                                                                                                                                                                         3rd Filing Agency
                                                                                                                                                                                                         4:b Arresting Agency
                      ****
                             FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                 O COMPLAINTAFFIDAVIT
                                                                     PROBABLECAUSE AFFIDAVIT CONTINUATION


    BROWARD COUNTY                                                                                                                                                                  QD ARREST FORM
    ARREST #                                                                                                                                OBTS#
    Defendant'sLast Name         First                    Middle       SUF        Hgt         Wgt        RC      SEX      DOB               OfTense Report               Arresting Officer(s)CCN

                 DEMONS                             JAMELL                       5'8"        120        B        m       05/01/99          90-1901-009039               Del. Steele 19085

    Name o f
               Victim(s)(If corporation,exabt legal name and state o f Incorporation)                                ADDRESS                                                 PHONE#

    SOF


                      i
     Count #                                           Offense Charged                                                                  Citation # if Applicable              FS or Capias/Warrant#

      .*--AA-*AMPERINer-                                                                                                                                                           F.S. 914.22(1)

                                                                                                                                                                                  F.S. 914.22(2)(e)



                                                                           O-3
                                                                                   Probable Cause Affidavit
    Before me this date personallyappeared Det Garrett Steele                                                                                                     who being first duly sworn deposes
    and says that on:      3rdday of:         October           2023   ,
                                                                        at 555 SE 1st Ave. Fort Lauderdale, FL 33301                                              (crime location) the above named
    defendant committed the above offens6s charged and the facts showingprobable cause to believethe same are as follows
                                           I
   On Tuesday, April 18, 2023, counsel for Mr Demons and Assistant State Attorney Kristine REDACTED exchanged emails about the scheduling
   of REDACTED          for deposltlob Ms REDACTED was commonly called REDACTED by the Defendant               isa thinly disguised'reference to
   Ms               Thedeposition        ofMs.
                                          REDACTED was supposed to
        REDACTED Demons The de'position did not take                 pke placeon-May   5,2023, as evidence by the May 1,2023, filing by
   counsel for
                Mq.                                       place, as Ms. REDACTED did not appear
              During the course of the conversations Mr. Henry tells the in-custody messengers to slow down, and at times they have to repeat
   the messages, or they describe bpecific emo1 characters, or even spells certain words in a particular way. On another occasion on April 24,
                                                                                                                                    "

   2023, Mr Demons again referer)ces REDACTED by calling her "A$AP Rocky's baby marna Popular recording artist REDACTED has been in
   relationship with another recording artist known as "A$AP Rocky." The conversation begins with a message directed to REDACTED          the
   defendant'smother, to tell her         cooperate with law enforcement in regards to some supposed threatJ that she reported to counsel for
                                         ntto
   the Defendantand the Honorable John Murphy REDACTED         subsequently declined to participate in an investigation regarding the supposed
                                        threat and subsequent lack of cooperation was discussed in open court on April 24th and? again on April
   th-reat-tht  *re    made to her
                                          the
   25th, 2023 The conversationabout Ms REDACTED again mentioned her and told Mr Henry to make sure "A$AP Rocky's baby marna" is in
   the "maybach? and she stays thkt way Ms REDACTED did not appear for the trial of Mr Dernons
              Cort'en Henry, who
                                         isout
                                         on bond, has been confined to his address in Miami Dade County with the exception of being allowed

   to leave for a short period of time each week for religious services During the conversationsMr Henry sends out the messages via
   electronic conmunication. At tides, he makes comrnents such as he caAot type fast enough to keepup with the message that is being
                  1
   relayed Detective Garrett Steel# obtained the GPS coordinatesfor Mr Henry's ankle monitor for April 19th, April 24th and Abril 25th, 2023
   During each of those days, Mr Henry remained within his listed residence, including at times corresponding to the phone calls with Mathis.

   The phone calls indicate that Henry is using an electronicmeans to communicate, such as another mobile device, tablet or computer from
   within the apartment.
                 On April 19, 2023, at 19 11 20, Inmate Terrance Mathis places a phone call to (561) 909-8905, Cortlen Henry, and begins to relay
   messages. Tile following exchange occurs between Mr Henry and Mr Mathis. These conversations happen in pieces separated by other
   conversations.



    I swear the above statement is correct and true to the best of my knowledgeand belief.

                                                                                            Detective G Steele 19085                                                   DLE/SID-GITF
  DaN               'DRzd
                     Signature
                              De4- 14 0%.3
                                                                                 Officer's Name/CCN                                                          Officer's Division
Q Officer/Affi6
    STATE OF               FLORIDA        COUNTY OF                BROWARD


    The forgoing instrument was acknowledgedbefore me this                 3rd          day of October                                    ,2023              who is personally known

                                                   known to me                                                          Did
    to me or who has Droduced (ID tvoe)                                          as identificationand who                               (did or did not) take an oath

                                                                                                                               Det 18488
    DEPGEirFE-COURT,NOTARY PUBLIC, OR ASSISTANTSTATE ATTORNEY                                                                     TITLE OR RANK/CCN


    SEVENTEENTH JUDICIAL CIRCUIT                                   FIRST APPEARANCE/ARREST FORM                                                                           Distribution
    BROWARD COUNTY                                                                                                                                                        Original Court
                                                                                                                                                                                     -




    STATE OF FLORIDA                           (S]IOU[I) AIDIlll IONA1. SI'ACEHh Nm IM D IJSIIS I IEPROHAIHIE('AIJSI.,
                                                                                                                     1 F ICA VII CONIINUAI[ON)                            2nd State Attorney
                                                                                                                                                                          34 Filing Agency
                                                                                                                                                                          4[b Arresting Agency
                          ****
                                 FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                          O COMPLAINTAFFIDAVIT
                                                                              PROBABLECAUSE AFFIDAVIT CONTINUATION


     BROWARD COUNTY                                                                                                                                                                              ? ARREST FORM
     ARREST #                                                                                                                                              OBTS#
     Defendant-sLast Name           First                         Middle        SUF        Hgt           Wgl         RC        SEX        DOB             Offense Report              Arresnng Officer(s)CCN
                 DEMONS                                    JAMELL                          5'8"          120         B         m         05/01/99         90-1901-009039              Det Steele 19085


     t'am-e of Victim(s) (l f corporation.exabt legal       name and state          of incorporation)                              ADDRESS                                                PHONE#

    SOF
                          I


     Count #                                                  Offense Charged                                                                         Citation # if Applicable             FS or Capias/Warrant#

                  WITNESS        TAMFEkil<Ig                                                                                                                                                    F S 914 22(1)

                                                                                                                                                                                              F.S 914 22(2)(e)



                                                                                      C3=S
                                                                                               Probable Cause Affidavit              ,




     Before me this date personallyappeared Det. Garrett Steele                                                                                                             who being first duly sworn deposes
     and says thai on'   3rd    day of        October         2023              ,
                                                                                                at   555 SE 1st Ave. Fort Lauderdale, FL 33301                              (crime location) the above named
     defendant comnjitted the above offenses charged and the facts showing probable cause to believe the same are as follows:

                                                i
    Mathis.                   so what he wants you to do

    Henry:                    when I ask    hir? if Ifind out how many bottles it takes for sheet
    Mathis:                   I got that part       talking about, I'm talking about his money aint come

    Henry:                    Just tell him it pint come on the 15th like it supposed to, Just waiting on it, I airlt get that far
    Mathis:                   alnght that's it?
    @1811
    Henry           make sure yoll tell him those shits $300 a pop, the bottles
    Based on Detective Steele and Detective Polo's experience working investigationsinvolving the introductionof contraband into jails and

    prisons, this conversationwas iklmediately identified as the sublecls consping and planning how they would smuggle the narcotics into the
                Co@ty                    method of introducing narcotics into the Jail orpnsons is bysending paper that habeen sohked or
    Browarcl

    sprayed    with
                       Jail A
                    narcoticsthat
                                    commo?
                                  hav@   a liquid form. Many of these drugs are substitute cathinone, phenethylamines, synthetic cannabinoids,and
    sometimes odiates such as fentanyl The Broward County Jail ha? had prior incidents of these narcotics Iaced papers being introduced to
    the jail in the form of books, lett*rs, and legal mail.
    On Friday, September22,2023, BSO Gang Detective Russell and Detention Deputy Alvarez conducted an interviewof a gang member
    being housed at Broward County Jail. The subject stated that Jamell Demons was controlling and facilitating the introduction and
    distributionof? narcotics Iaced         p#per
                                             into the jail. The subject also stated that in the last two months he had personally purchased narcotics
    Iaced paper from Jamell                The subject stated that only inmates on Demons' floor currently have access to the narcotics The
                               Demos.
    subject stated that the narcotic# Iaced paper was being introduced to the jail in mail in the form of legal documentsfrom attorneys
    UNITED BLOOD NATION BACKGROUND
    1 The United Blood Nation (UBN) is the East Coast off-shootof the California based criminal street gang known as 'Bloods." The Bloods

    gang was      fouhded in Los Angeles in the 1970s as a response to the rise and dominance of the Cnps, a rival street gang The UBN is only
    loosely affiliated with west coast Bloods and began as a prison gang In the State of New York in 1993 The gang was formed by prisoners
    in order to   giJe themselves protectionfrom other gang members within the prison system. Since Its Inception, the UBN has spread
    throughout-the eastern and cer'Itral United States, and now has a presence in at least eight (8) states.
     I swear the above statement is correct and true to the best o f my knowledge and belief

                                                                                                        Detective G Steele 19085                                                  DLE/SID-GITF
 hZar.AADet. 1 Qot S
C-/Officer/Affi0Signature                                                                  Officer'sName/CCN                                                           Officer's Division
V                 V
     STATE OF         ,       FLORIDA        COUNTY OF                     BROWARD


     The forgoing instrument was acknowledgedbefore me this                         3rd         day of October                                           ,2023         who is personallyknown.

     to me or who has Droduced (ID rae)                   known to me                          tdentificattonand who                     Did
                                                                                          as                                                          Mid or did notl take an oath.
                                                                                                                                                Det 18488
     DE--CEERKOF THE COURT,NOTARY PUBLIC. OR ASSISTANT STATE ATTORNEY                                                                            TITLE OR RANK/CCN


     SEVENTEENTH JUDICIAL CIRCUIT                                           FIRST APPEARANCE/ARREST FORM                                                                               Distribution
     BROWARD COUNTY                                                                                                                                                                    Original Court
                                                                                                                                                                                                 -




     STATE OF FLORIDA                                (SIHOIJ I.!)AI)1)1I IONAI SPACE [t[EN [+I)[ D US 13 [11I:PRO1 \m l:C \[JSI ,\1 i-ICAVII CON I INIJA [ ION)                        2'd State Attorney
                                                                                                                                                                                       3r' Filing Agency
                                                                                                                                                                                       4'h ArrestingAgency
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                                 FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                              O COMPLAINTAFFIDAVIT
                                                                                 PROBABLECAUSE AFFIDAVIT CONTINUATION


        BROWARD COUNTY                                                                                                                                                                                  E ARREST FORM
        ARREST #                                                                                                                                                   OBTS#
        Defendant-sLast Name           First                        Middle         SUF         Hgt            Wgt          RC        SEX        DOB               Offense Repon              Arresnng Officer(s)CCN
                    DEM6Ns                                   JAMELL                            5'8"           120         B          m         05/01/99           90-1901-009039             Det. Steele 19085

        Name o f Victim(s) (lf corporation,exabt legal name and state of tncorporation)                                                   ADDRESS                                                PHONE#

        SOF




         Count #                                                 Offense Charged                                                                             Citation # if Applicable             FS or Capias/Warrant#

          -1         Wtl-NESO TAMP[FHNC            ,
                                                                                                                                                                                                       F S 914 22(1)

                                                                                                                                                                                                     F.S. 914 22(2)(e)


                                                                                             -3

                                                                                                   Probable Cause Affidavit
        Before me this date personallyappeared Det Garrett Steele                                                                                                                   who being first duly sworn deposes
        and says that on'      3rd     day of'            October                  ,   2023         at 555 SE 1st Ave Fort Lauderdale, FL 33301                                     (crime location) the above named
        defendant committed the above offensbs charged and the facts showingprobable cause to believethe same are as follows:

    2. Nationally, there are approximately 15 groups, or "Hoods," in the UBN The "Hoods" Include
    i     Nine Trey Gangsters ("NTG", "9TRE", or "9TREY")
    Ii. One   Eight 1rey Gangsters
    m     Gangster Miller Bloods CGKB", "G-SHINE", or "SHINE")
    iv. Valentine Bloods             CVB")
    v     Blood Stone Villains
    vi.   Sex, Moneb, Murder (SMM)
    vii    Murderoud Mad Dawgs ("MMD")
    vm     Mad Stone Bloods
    ix. Five Nine Brims          (Prime Time Bnms)
    x     Hit Squad Bnms
    xi    United Blood Love
    xii Eastside Gangster Bloods
    xiii O Trey Gangster Bloods
    xiv Nine       Nine' Gangster Bloods
    xv     New York Bloods


    The most prominent hoods are the NTG, GKB, and SMM
    3 According to the National Gang Intelligence Center (NGIC), membership of the UBN is estimated to be between 7,000 and 15,000
    members alohg the east coast Members have been linked to OCDETF investigationsin Florida, Georgia, South Carolina, North Carolina,
    Tennessee, Alabama, Virginia, West Virginia and elsewhere
                                                                                                                                                         "
    4 Nationally, the UBN
                           aligns itself with the Gang Alliance known as the "People Nation The "People Nation" includes the criminal street
    gangs "Black  P Stones," "Latin Kings," "Vice Lords," and others The enemies of the UBN are any street gang associated with the Gang
    Alliance known as the "Folk Nation," which includes the "Crips," and the "Black Gangster Disciples," among other street gangs.



        I swear the above statement is correct and true to the best of my knowledgeand belief

                                                                                                                                                                                             DLE/SID-GITF
    Ax.ia 30522 Det.igo8S
                                                                                                            Detective G Steele 19085
                                                                                               Officer'sName/CCN                                                              Officer's Division
V       STATE OF               FLOR[DA           COUNTY OF                   BROWARD


        The forgomg instrument was acknowledgedbefore me this                          3rd          day of October                                               ,2023        who is personally known

        to me or who has Droduced (ID tvDe)                 known to me                                                                       Did
                                                                                              as   identificationand who                                     (did or did not) take an oath
               A                                                                                                                                      Det 18488

        D0CL-ERKF              THE COURT,                PUBLIC, OR ASSISTANTSTATE ATTORNEY                                                              TITLE OR RANK/CCN



        SEVENTEENFH JUDICIAL CIRCUIT
                                               NOARY                           FIRST APPEARANCE/ARREST FORM                                                                                   Distribution
        BROWARD COUNTY                                                                                                                                                                        Original Court
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        STATE OF FLLORIDA                              (Si IOIJI.[) ADIN] IONA I.SI'ACE IH[.NI.1 !)1.I) IJSi.2; r]IEPROIBA]1I.F.CAIJSE A I-IICAV[ I (.()IrI INIJA IION)                       Zn,1 State Attorney
                                                                                                                                                                                              3'd Filing Agency
                                                                                                                                                                                              4'b ArrestingAgency
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                               FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




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                                                                                             O COMPLAINTAFFIDAVIT
                                                                                PROBABLECAUSE AFFIDAVIT CONTINUATION


      BROWARD COUNTY                                                                                                                                                                               E ARREST FORM
      ARREST #                                                                                                                                                OBTS #
      Defbndant s Last Name         First                           Middle        SUF        Hgt            Wgt         RC        SEX       DOB              Offense Report             Arresting Officer(s)CCN
                  DEMONS                                     JAMELL                          5'8"          120         B         m         05/01/99          90-1901-009039             Det Steele 19085

      Name of Victim(s) (Ifcorporation,exadt legal name and state of incorporation)                                                   ADDRESS                                               PHONE#

      SOF




      Count #                                                   Offense Charged                                                                         Citation # if Applicable             FS or Cabias/Warrant#

                  -Wil'Ntzbb I AMPERIG--                                                                                                                                                          F S. 914.22(1)

                                                                                                                                                                                                F S. 914.22(2)(e)


                                               I                             -7863
                                                                                                Probable Cause Affidavit
      Before me this date personallyappeared Det. Garrett Steele                                                                                                              who being first duly sworn deposes
      and says that on    3rd    day o f       October         2023               ,
                                                                                                  at   555 SE 1st Ave Fort Lauderdale, FL 33301                               (crime location) the above named
      defendant committed the above offensks charged and the facts showingprobable cause to believethe same are as follows:
                                               1
  5. The structure of the UBN Is hierarchical                          Each member has a specific rank within the gang and with this rank comes specific duties and
  responsibilitie;to the "Hood." Te UBN uses a ranking system (otherwise called a "Line Up") often disguised with code              to label the                                                names

  leadership strJcture. While the brecise hierarchy is tA voluminousto set forth in this Affidavit, a typicil structurefor a Gangster Killer
  Blood "Line Ub" would likely indLde the leader of the "Hood," who is called the 'Godfather," down through the "High," "LowF"5th floor," 4th
  Floor," "3rd F16or,          2nd Floor," list Floor," including the 'Warnort 'Skrap", or"Askan"
                                               '                                                                                    Additionally, within the UBN, females hold unique
  positions of       adthority, Induding that of a "First LadD and                             are often        responsible for record keeping, covert communications,and distribution
  of gang records.
  6. T-hestatus         bf
                   a "Skrap" is
                                            tha?
                                    of a newly initiated or very young gang member to whom not much responsibility is given. "Skraps" act as
  'soldiers" on the streets, where they commit crimes either under the supervision of the gang leadership or on their own accord "Skraps"
  commit these crimes in
                                    orqer togain
                                      respect of older and more experienced gang                                                           merriers.                                      to study and learn the
  gang bylaws and oaths. "Skrap's" are often tested on their knowledge by higher-ranking gang members                                                                      Failure to memorize the gang
  Bylavvs-and oaths will result  In being violated (disciplined) by gang                                       IJadJrshp.
  7. The rank of "First Floor" is th# lowest in the leadership hierarchy                                          Members who hold this rank have earned the respect of gang
  leadership by showing their corAmitment and dedication to the gang "First Floors" are being given their first chance at Ieaderlhip w,thin the
  gang and are to earn their way bp the hierarchical ladder by commiuing crimes on behalf ofthe gang and supervising newly initated gang
                                "
  members or 'Skraps
                Il
  8. One who holds the rank of "Second Floor" is responsible for the money of the organization A "Second Floor" is responsible for collecting

                                              o
  gang dlzs anf sending Inoney higher-rankinp gang leades within thestate or outside of the state.
  9. The "Third Floor" role is mairily that of the enforcer. The "Third Floor" will discipline members who violate gang bylaws by intimidation of
  physical harnl, or by physically            those found to be In violation. Addltionaly, "Third Floors" are responsible fr initiationof gang
                                              Farming
  members whdre they are "beat into" the gang
  10 The "Fouhh Floor role is th6t of a communicator between the gang on the streets and gang members that are currently incarcerated. A
  "Fourth Floor" will ensure that Ir)carcerated UBN members are being taken care of financially In their respective commissary accounts, and
                                    1
  personally protected behind prison walls


      I swear the above statement is correct and true to the best o f my knowledgeand belief

                                                                                                                                                                                    DLE/SID-GITF
Ama                           DBEE Det.lgoRS                                                              Detective G Steele 19085

(>'                                                                                           Officer s Name/CCN                                                         Officer's Division

      STATE OF
                       ? FLORIDA              COUNTY OF                      BROWARD


      The forgoing instrument was acknowledgedbefore me this                          3rd         day of October                                            ,2023        who is personallyknown


      to me or who has Droduced (ID tvoe)
                                                            known to me                                                                  Did
                                                                                            as identification and who                                   Mid or did not) take an oath.
                                                                                                                                                  Det. 18488

      DE?f-t-ER]? OF THE COURT.NOTARY PUBLIC. OR ASSISTANT STATE ATTORNEY                                                                           TITLE OR RANK/CCN


      SEVENTEENH JUDICIAL CIRCUIT                                             FIRST APPEARANCE/ARREST FORM                                                                               Distribution
      BROWARD COUNTY                                                                                                                                                                     Original Court
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      STATE OF FILORIDA                                (b IOIJI.1) ADDI I IONAI. >1'ACl Itl:N I,[D 1-1) IJ>[-S tHi PROiIA] I.KC \IJSI AI-FL\VI I CONI INIJAI ION)                        2'? State Attorney
                                                                                                                                                                                         34 Filing Agency
                                                                                                                                                                                         4'b Arresting Agency
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                                   FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                    O COMPLAINTAFFIDAVIT
                                                                        PROBABLECAUSE AFFIDAVIT CONTINUATION


     BROWARD COUNTY                                                                                                                                                               E ARREST FORM
     ARREST #           j                                                                                                                 OBTS #
     Defendant s Last Ne                First                 Middle     SUF        Hgl          Wgt       RC      SEX      DOB           Offense Report               Arresting Officer(s)CCN
                   DEMONS                                 JAMELL                    5'8"        120       B        m       05/01/99      90-1901-009039               Det Steele 19085

     Name of Victim(s) (If corporation,exabt legal name and state of incorporation)                                      ADDRESS                                           PHONE#

     SOF




      Count#                                                Offense Charged                                                           Citation # if Applicable              FS or Capias/Warrant#

      -MBOAN'*                                                                                                                                                                   F S     914.22(1)
                                                                                                                                                                                F S    914.22(2)(e)




                                                                                      Probable Cause Affidavit
     Before me this date personallyappeared Det Garrett Steele                                                                                                  who being first duly sworn deposes
     and says that on'       3rd        day of:         October          ,   2023      at 555 SE 1st Ave. Fort Lauderdale, FL 33301                             (crime location) the above named
     defendant comnjitted the above offensks charged and the facts showingprobable cause to believethe same are as follows

    11. A
          mem-be?
    "Skraps
               "   hIding.the               "FifthFloor"
                                            oversees the Iowerranking floors, making day to day decisions regarding the lower floors and

              The "Fifth Floor" is also learning the role of the "Low" as they are assumed to promote to that position when It becomes available
    12. The rank ctf"Low" is responjible for appointing gang members to Jertain 'floors" beneath them and ensuring their duties are carried out
    The "Low"      ha? the authonty to o1rder or approve tliekilling of a rival gang member or a member from within the UBN who betrayed the gang
    The "Low" is often in charge of     J certain region, as the "Aors" operite Gpically within a certain county or city
                           rApor#ble for appointing the "Low A "High"
                                                                                           "
    13 The role of "High" is                                               is often not geographicallylocated in proximity to the "Low" or

    "Floors" beneath him. The   "High" communicatesbetween the national leadership of the UBN and the "Lows" in certain states or regions.
    The "High" will ensure that                 gar?
                                     dues are being sent from regional sets of the UBN to the executive leadership council in New York
    14. The role of 'Godfathef is                 thk highest ranking leader over an entire set within the UBN "Godfathers"of each set within the UBN make
    up a leadership council that                opdrates out of New York Through a collaborativeeffort, this council makes decisions regarding gang
    business that are to be followed by all sets of the UBN worldwide
    15 To enrich and further the UBN, members and associates engage in narcotics distribution, firearms trafficking, money Iaundenng,

    p[ostitution,
    16. As
                  financial fraud,
                 of its
                                   anda3orted
                                       UBN
                                              acts of violence, Induding murder, attempted murder,
                                                    conducts              order to
                                                                                                   aggravfed asslult, and armed robbery.
                                                                                                business Members discuss
           part     operations, th?       regularly        meetings in            manage gang                                dues, rules,
    organizationalstrategies, recruitment,the breakdownof individual districts and, most importantly, the national hierarchy In certain
    circumstances,          meetings are ddsignated for a certain group of UBN members For example, attendance may be restricted to
    higher-rankin6          members
                                            Aftersuch meetings,        it Is the responsibility of the leaders in attendance to share the information from the meeting
    with lower ranking members. At most UBN meetings, much like at corporate meetings, minutes are kept and roll is taken                                                              In calling roll, the
    UBN documebts membership, riotes punishments and disciplines to be administered, and Identifies members that have been expelled from
    the enterprise Records from   tde meetings must be kept at the local level and sent to the national book keeper in order to inform the senior
    leadership of events at the Ioca level. These records are normally handwritten and maintained in notebooks, but may also be in the form of
    text   message'sand e-mails.


     I swear the above statement is correct and true to the best of my know Iedge and belief

                                                                                               Detective G Steele 19085                                              DLE/SID-GITF
                                                D ET.    190 8.3
/7 Officer/Affiao           signature                                               Officer s Name/CCN                                                     Officer's Division
                    U
     STATE OF                FLORIDA               COUNTY OF           BROWARD


     The forgolng instrument was acknowledgedbefore me this                  3rd       day of October                                    '2023             who is personallyknown


     to me or who has oroduced (ID tvDe)
                                                         known to me                                                      Did
                                                                                    as identificationand who                          Mid or did not) take an oath
                                                                                                                                  Det 18488
     DEP,IrY CLERK OF THE COURT, NOTARY PUBLIC, OR ASSISTANT STATE ATTORNEY                                                        TITLE OR RANK/CCN


     SEVENTEENTH JUDICIAL CIRCUIT                                      FIRST APPEARANCE/ARREST FORM                                                                     Distribution
     BROWARD COUNTY                                                                                                                                                     Original Court
                                                                                                                                                                                   -




     STATE OF FLORIDA                                                                      US[3 Il[1 PROH.Utl.[:CAUSI-                  !10N]                           2rd State Attorney
                                                                                                                                                                        3r' Filing Agency
                                                                                                                                                                        4'}, Arresting Agency
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                              FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                         O COMPLAINTAFFIDAVIT
                                                                           PROBABLECAUSE AFFIDAVIT CONTINUATION


    BROWARD COUNTY                                                                                                                                                                       E ARREST FORM
    ARREST #                                                                                                                                       OBTS #
    Defendant s Last Namb         First                          Middle     SUF           Hgt          Wgt        RC      SEX       DOB           Offense Report              Arresting Officer(s)CCN
                 DEMONS                                   JAMELL                          5'8"        120        B        m       05/01/99        90-1901-009039              Det Steele 19085

    Name o f Victim(k) (1 f corporation,exadt legal name and state o f incorporation)                                         ADDRESS                                             PHONE#

    SOF



     Count #           I                                       Offense Charged                                                                 Citation # if Applicable            FS or Capias/Warrant#

                                                                                                                                                                                        F S 914 22(1)
      R-MESS-PERMe
                                                                                                                                                                                       F S 914 22(2)(e)




                                                                                  CgS
                                                                                            Probable Cause Affidavit
     Before me this date personallyappeared Det Garrett Steele                                                                                                         who being first duly sworn deposes
    and says that oni       3rd   day of                 October            ,   2023          at   555 SE 1 st Ave. Fort Lauderdale, FL 33301                          (crime location) the above named
    defendant committed the above offensks charged and the facts showingprobable cause to believe the same are as follows

                                               i
    17 As part of the UBN's organization,gang members are expected to conductthemselves and their Illegal activity according to rules and

   regulationsset by
                     their leaders.            This              "dues" tothe
   leadership in New York, and a p'ercentage of the funds used locally for gang business
                                                                                                                        organizatior?Theperntageof
                                                                                                                                              a    whicharetransferredto
                                                                                                                                         UBN sometimes refers to dues "donations'                 as
                 "

   or 'tuition                                                              of thirty-one dollars permonth. The                             it           dollar           is symbolic to the
              TIe pes-are ge-neray.in      theamount                                     tlrtylne        amol'nt                   gr.g
                                                                                                                                                                                                        as

                        "Thirty-One?
                                                           "

   represents th? UBN                Rules -

                                             The dues    generally  collected around
                                                                                are  the 16th of each month  The designation of the 16th of
   the month coi'lcides with the da!, the UBN was established, July 16, 1993.
    18 Like many criminal street gahgs, the UBN utilizes a wide variety of symbols to identify its members to one another and to distinguish
   themselves
              frm others. For exhmple, UBN members wear orotherwise employ the color red as their gang market. UBN m-ernbtys also
   commonly wear clothing of profssional sports franchises which wear red as one of their team colors, such as the Chicago Bulls, Boston
   Red Sox, Miani Heat, an Francisco 49ers, and Cincinnati Reds. The Chicago Bulls' "bull with horns" logo is also a common emblem that
   UBN memberl display on their bothing Bandanas are also commonly worn by UBN members to signifythatthey are gang members The
   bandana can be worn in a variety of ways on the body, but the common denominator is that the bandana is the color red Moreover, an
   assortment of tattoos are also used to identify UBN members. These Include, but are not limited to, a dog's paw of varying depiction, a

   three-circle pattern often burned into the skin, and the acronym "M.O B," which stands for "Member of Bloods."
                                           '
    19. Moreoverw a variety of word$, numbers, and objects are utilized by the UBN                                              The most common of these include the number five, the
   five-pointed star, the five-pointe6 crown, and the word "eastside", and the word "damu," which is Swahili for 'blood." As an example,
   Gangster Killr Bloods will after, refer to themselves or their "Hood" within the UBN as''G-SHINE" or derivativesof "SHINE Simiarly,
                                                                                                                                                                                              "




   certain written language, both ir? the form of codes and distinctivespelling, Is also used to denote UBN membership For example, UBN
   members will often replace the !etter "c" with an "x" or 'b" as a show of disrespect to Cnps, a rival collection of street gangs For example,
   the word "d,strict" may be spelldd as "distnxt"




     I swear the above statement is correct and true to the best of my knowledgeand belief



   LZ-W---             t285               net.19085
                                                                                                     Detective G Steele 19085                                                 DLE/SID-GITF

iTOMiAmaMwe
U           '
                                                                                          Officer's Name/CCN                                                      Officer's Division

   STATE OF   FLORIDA                      COUNTY OF                      BROWARD


    The forgoing
                     ifjstrument was acknowledgedbefore me this                 3rd           day of October                                      ,2023           who is personallyknown


     to me or who has Dreduced (ID tVDe)
                                                         known to me                                                             Did
                                                                                         as identificationand who                              Mid or did not) take an oath

                                                                                                                                         Det 18488
     DEPrT-E[ElUEOrlllE COURT, NOTARY PUBLIC.OR ASSISTANT STATE ATTORNEY                                                                   TITLE OR RANK/CCN


     SEVENTEEN{rH JUDICIAL CIRCUIT                                        FIRST APPEARANCE/ARREST FORM                                                                         Distribution
     BROWARD COUNTY                                                                                                                                                            Original Court
                                                                                                                                                                                          -




     STATE OF FLORIDA                              (SI                                1:NllD D Ublj Illl:PROIBA]4[.1 CAIJSI,Ali [CAVI]   ON HNUAIt()Nj                         2nd State Attorney
                                                                                                                                                                               yd Filing Agency
                                                                                                                                                                               4* Arresting Agency
                        ****
                               FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                     I
                                                                                                O COMPLAINTAFFIDAVIT
                                                                                   PROBABLECAUSE AFFIDAVIT CONTINUATION


     BROWARD COUNTY                                                                                                                                                                                         E ARREST FORM
     ARREST #                                                                                                                                                       OBTS #
     Defendant s Last Namb           First                            Middle         SUF         Hgt            Wgt          RC        SEX        DOB               Offense Report               Arresting Officer(s)CCN
                 DEMONS                                        JAMELL                            5'8"           120         B          m         05/01/99           90-1901-009039              Det Steele 19085

     Name of Victim(k) (lf corporation,exabt legal name and state of incorporation)                                                         ADDRESS                                                  PHONE#

     SOF




     Count #                                                       Offense Charged                                                                             Citation # if Applicable               FS or Cap,as/Warrant#

                   WITNESS
                                   TAMPC,VM*-                                                                                                                                                              F S 914 22(1)

                                                                                                                                                                                                          F.S. 914.22(2)(e)



                                                                                               GS
                                                                                                     Probable Cause Affidavit
     Before me this date personallyappeared Det. Garrett Steele                                                                                                                           who being first duly sworn deposes
     and says that on I        day of
                             3rd               October          2023     at 555 SE 1st Ave Fort Lauderdale, FL 33301
                                                                                     ,                                                                                                    (crime location) the above named
     defendant committed the above offensbs charged and the facts showingprobable cause to believethe same are as follows
                                                 1
    20. UBN gang members use their hands and fingers to form signs as a means of communication, commonly referred to as                                                                                          throwing signs."
                                                 '
    UBN members use these hand Signs to identify themselves as gang members and to challenge rival gang members or law enforcement
    officers. One bfthemostcomm'onlyused UBN hand signs invGvei a member using his/her fingers td form the letter 'b" or "B,'
    representing blood. Another cotnmonly used UBN hand sign involves a member using his/herfingers to form the "bull horns" symbol.
    Moreover, a ttIrd commonly usJd UBN hand sign involves-a member using his/her fingers to forrn-the letter "e" or "E," representing the
    "eastside"or      "6ast
                      coasf            oithe
                                  United States. Finally, another commonly used UBN hand sign involves a member
                                  '
                                                                                                                               his/her         to                                                  uslnj               gers
    form a gun. This representsth4t the individual has killed a person before or is willing to do so This hand sign is often paired with the use
    of another hand to cover the mduth, or the pointing of the gun towardsthe mouth/head. When together, this representsthat if a person
    impermissibly discusses UBN abtivity, particularlyTNithlaw-enforcement,or acts out against the UBN, the consequences are physical
    violence and/ordeath
    21 The UBN
                       Hood"
                         involved
                                             4
                                  this investigation is GKB However, investigationshave revealed that these "Hoods" communicate and
    cooperate with other UBN "Hoobs" in Florid-a and elsewhere. The GKB we/e one of the original five (5) hoods that made up the UBN when
    It was formed in 1993           The UBN was formed at the Rikers Island Detention Center in New York City, and the GKB hood became known as
    the "enforcement branch or clednup crew
    22. The GKB has branch               ope@ons in several eastern states, including Florida,                                                in the cities of Ft.
                                                                                                                                                                            Lauderdale, Orlando, Tampa, Miami and
    others. Baseti on evidence gatered during the course of this investigation, including interviewswith cooperators and witnesses, review of
    police reports;of crimes committed by men@ers of the GKB, and oth4; independentinvestigation, the GKB in Florida operates and functions
    In the same manner, and with the same set of rules and hierarchy, as does the overall UBN, as described above        This also Includes

    wearing the *me colors, displjying the same symbols, wearing the same tattoos, and holding regular meetings during which members are
    required to py dues that are sbse-quently forwarded to UBN members both Inside and-outside o? the                 Frida Additionally, through
    informationobtained during thisi investigation, I have identified three different "sets" or "Temples" of the UBN GKB which are currently
                                                                                                                                                                                     stfe=o?
    operating in Florida. These set's include "Infamous Shine", "95 Killer Shine aka Tru AKA Tru Ryders United", "Neighborhood Shine
    Gangstas aka Beamer Gang." Further, investigation has established that the GKB in Florida traffics In narcotics and firearms; commits
    armed robberies and burglaried; commits act of violence, including murder and aggravated assault, and participatesin bank and wire fraud



     [ swear the abqve statement is correct and true to the best of my knowledgeand belief

    N-                                                                                                        Detective G Steele 19085                                                         DLE/SID-GITF
     --.5.1.Ra              Det. 19085
            -




g3>, orficer1130t Signature
                        s                                                                        Officer s Name/CCN                                                                  Officer s Division

     STATE OF                FLORIDA         COUNTY OF                         BROWARD


     The forgoing instrument was acknowledgedbefore me this                              3rd          day of October                                               '2023             who is personally known

                                                              known to me                                                                      Did
     to me or who has Droduced (ID tvpe)                                                        as   identificationand who                                     Mid or did not) take an oath
                                                                                                                                                       Det 18488
     DEPL-128RKOFTH-ECOURT,NOJARY PUBLIC, OR ASSISTANT STATE ATTORNEY                                                                                     TITLE OR RANIUCCN


     SEVENTEENTH JUDICIAL CIRCUIT                                                FIRST APPEARANCE/ARREST FORM                                                                                     Distribution

     BROWA-R-D-#9!JNTY
     STATE OF FLORIDA                                    (SHO[J I l) A[)IDII R)NAI. SI'All- ! l- N 1:11)1 ID IJJIS lili. PROHA[ E CA[Jb] .\Fl It.AV!! ( OXI INIJA I ION)
                                                                                                                                                                                                  Original Court
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                                                                                                                                                                                                  2'd State Attorney
                                                                                                                                                                                                  3rd Filing Agency
                                                                                                                                                                                                  4'b Arresting Agency
                     ****
                              FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                         O COMPLAINTAFFIDAVIT
                                                                            PROBABLECAUSE AFFIDAVIT CONTINUATION


 BROWARD COUNTY                                                                                                                                                                           QD ARREST FORM
 ARREST #                                                                                                                                             OBTS#

 Defendant s Last Name             First                        Middle       SUF         Hgl          Wgt         RC       SEX       DOB             Offense Report             Arresung Offi=(s)CCN
             DEMONS                                      JAMELL                          5'8"         120        B         m        05/01/99         90-1901-009039             Det Steele 19085

 Name of Victim(s)([ fcorporation,erabt legal name and state o f incorporation)                                                ADDRESS                                             PHONE#

 SOF




  Count #                                                    Offense Charged                                                                     Citation # if Applicable            FS or Capias/Warrant#

                 WtfNESS
                 .
       .
                                TAIVIPt:KINU-                                                                                                                                            F.S. 914.22(1)

                                                                                                                                                                                       F S 914 22(2)(e)




                                                                                           Probable Cause Affidavit
 Before me this date personallyappeared Det Garrett Steele                                                                                                             who being first duly sworn deposes
 and says that on;        3rd      day of.             October                ,   2023       at 555 SE 1st Ave             Fort Lauderdale, FL 33301                   (crime location) the above named
 defendant   comAtted the above offens'escharged and the facts showingprobable                            cause to     believethe same are as follows

23   Lastly, each subset of the UBN GKB has both a street, or "Black Top," ranking structure and a ranking structure which is compnsed of
UBN GKB      melnbers who are currently incarcerated in the prison system, commonly referred to as the "G-wall                                                              "




     Terrence Mathis has been i6entifiedas a member of the Bloods Mathis Is currentlyhoused in the Broward County Main Jail and has

facilitate-d
federal firearrhs violations
                             fr J6mell
                 corlmunications        Demons on over 100 occasionsin the last
                                                                                 yeE -M-athls
                                                                                              Criminal history
                                                                                                               includetltnicidesand
                                           Matlis
                                    is a convicted felon for a Homicide committed in 2002 Mathis is pending tnal for a 2017 homicide and

has a Federal Bureau of              Prison6 hold for firearms violations he has been convicted of Mathis meets criteria set forth below in Florida State
Statute 874 06 to document                  hin; as a Bloods gang member.
(a) Admits t6 criminal gang association
In August 2023, on multiple recorded calls with Cortlen Henry, Mathis admitted to his involvement In the Bloods, and stated that there is

only Ae persbn above him in tle Jail Mathis also stated that Jamell Demons has nothing to worry about because Mathis is vouching for
him.

(d) Adopts the style of dress 4f a criminal gang.
On two separte occasions in 2000 and 2001 Mathis was documented by Law Enforcement in Miami-Dade County wearing red clothing In
2023 Mathis          tated
                   over
                                    recordlad
                                 communications that he was wearing his red hat and shoes at the Broward County Main Jail                                                                         Deputy-
David Alvarez confirmed that Mathis wears red footwear and red headdress.
(g)    Associates with one or               mJ,re known criminal gang members
In 2023 Mathis has willfully assbciated with Jamell Demons, Cortlen Henry, and several other unidentified Blood gang members he
                                              i
mentioned oxer recorded phone calls.

(i)    Is identified as a criminal gang member by physical evidence
In 2023 Mathjs had mail and c4rrespondencebetween him and other known and unknown Blood gang members. Mathis has
communicatedover recorded      41is with several Blood gang members, identifyingwhich Blood sets certan members belong to
(k)    Has   autAored any commubicatlon indicating responsibility for the commission of any crime by the criminal REDACTED
In 2023 Mathis was Involved
                                            inthe electronic          communicationswhich lead to the Tampering with Witness
involved in the electronic communications directing criminal gang members to enforce violations upon other Bloods who were not in good
                                                                                                                                                                                              Mathis also was

                                              l
standing or had been kicked 00t
           the           statement is correct and true to the best of my knowledge

 wear abc?                                                                                         and-ie*f
Arrw-#ULDet /9083                                                                                    Detective G Steele 19085                                                   DLE/SID-GITF

                                                                                         Officer'sName/CCN                                                       Officer s Division

 STATE OF                 FLORIDA             COUNTY OF                  BROWARD


 The forgotng instrument was acknowledgedbefore me this                           3rd        day of October                                          ,2023        who is personally known

                                                        known to me                                                                Did
 to me or who has produced (ID n,De)                                                     as identificationand who                                Mid or did not) take an oath
                                                                                                                                          Det 18488

 DEPLCEE-OFTHE COURT. NO,TARY PUBLIC, OR ASSISTANT STATE ATTORNEY                                                                            TITLE OR RANK/CCN


 SEVENTEENTH JUDICIAL CIRCUIT                                             FIRST APPEARANCE/ARREST FORM                                                                           Distribution
 BROWARD COUNTY
                                                                                                                                                                                 Original Coun
                                                                                                                                                                                          -




 STATE OF FLORIDA                                   (S[IOU I.1)AI)1)!lIONAI. SPAC[.Hi.NITI)]D, US Ib 1 l PRC) It,\1 I.1 CAIJ)1: AH,1(.AV[I CO NI N A IION)                       2n,j State Attorney
                                                                                                                                                                                 3r? Filing Agency
                                                                                                                                                                                 4'? Arresting Agency
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                                   FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                              O COMPLAINT AFFIDAVIT
                                                                                 PROBABLECAUSE AFFIDAVIT CONTINUATION


      BROWARD COUNTY                                                                                                                                                                                  E ARREST FORM
      ARREST #                                                                                                                                                OBTS#
      Defendant s Last Nam6          First                           Middle        SUF        Hgt            Wgt         RC       SEX       DOB               Offense Report               Arresting Officer(s)CCN
                  DEM0NS                                       JAMELL                         5'8"          120         B         m        05/01/99          90-1901-009039               Det. Steele 19085

      Name o f Victim(s)(If corporation,exadt legal name and state of incorporation)                                                  ADDRESS                                                  PHONE#

      SOF




       Count #                                                    Offense Charged                                                                       Citation # if Applicable                FS or Capias/Warrant#
                                                     '


      r1            WI*NESw i AMPERING,                                                                                                                                                              F.S. 914 22(1)

                                                                                                                                                                                                    F S. 914 22(2)(e)


                                                                                             CLS
                                                                                                 ProbableCause Affidavit
      Before me this date personallyappeared Det Garrett Steele                                                                                                                     who being first duly sworn deposes
      and says that on        3rd
                                day of          October           2023    at 555 SE 1st Ave Fort Lauderdale, FL 33301
                                                                                   ,                                                                                                (crime location) the above named
      defendant committed the above offens6s charged and the facts showingprobable cause to believe the same are as follows
                                                 i
     Cortien Henry has been identifie'das a member of the Bloods                                         Henry is currently on pre-trial release Level 1 house arrest and has facilitated
     communicationsfor Jamell Demons on over 100 occasions In the last year                                           Henry's Criminal history includes Attempt Murder Henry is
     pending trial for a 2018 double Momicide with co-defendant Jamell Demons.
     Henry meets Literia set forth below in Florida State Statute 874.06 documenting him as a Bloods gang member.
     (a)  Admits to criminal gang mdmbership
     In August 2023, on multiple recdmed calls with Cortlen Henry and Terrence Mathis admitted to their involvement in the Bloods Henry had

     knowledge of *everal Bloods an'd discussed their status within the gang Henry discussed that Bloods on the outside are 'politicking" and
     discussing Demons' alleged coJperation with law enforcement Additionally, Henry has posted captions on his photographson social media
     represenAg de is a member ofjhe Bloods
     (d)   Adopts the style of dress of a criminal gang


     nisaptmsaP                              ad                     fCo;Ilen
                              photographs            videos                             Henry on social media showing him wearing the color red while claiming Blood gang in

     (e) Adopts the use of a hand §ign identified as used by a criminal gang
     There are       photographsaAd videos of Cortlen Henry using Blood hand signs specificallyGKB hand signs
                   maby
     (f) Has a tattoo identified as ubed by a criminal gang
     There are many photographsakd videos of Cortlen Henry showing that he uses the color red in several of his tattoos.
     (g)    Associates with one or more known criminal gang members.
     dortlen Heng has been observd willfully associating-withBlood gang members, specificallyGKB members, Jamell Demons, Jaquan
     Burton, Derndk Dixon As well ds his willful association with Terrence Mathis over recorded calls
     (i)   Is   identifibd a criminal ghng member by physical evidence
                              as

     Cortlen     Her,r; has multiple phoographs and videos showing his membership in the Bloods gang, such as hand signs, posts, captions, and
     videos
     (J)   Has been observed in the @ompany of one or more known criminal gang members four or more times Observation in a custodial
     setting requires a willful associ@tion It is the Intent of the Legislature to allow this criterion to be used to identify gang members who recruit
     and organize'in jails, prisons, and other detention settings


      I swear the above statement is correct and true to the best of my knowledge and behef

                                                                                                                                                                                         DLE/SID-GITF

f
 -SBDNEO .19EIUC Det.1908S                                                                                 Detective G Steele 19085
                                                                                               Officer's Name/CCN                                                              Officer s Division

IJ                  U
      STATE OF                FLORIDA        COUNTY OF                        BROWARD


      The forgoing instrument was acknowledgedbefore me this                           3rd         day of      October                                      ,2023              who is personallyknown


      to me or who has produced (ID tvoe)
                                                             known to me                                                                  Did
                                                                                             as identificationand who                                   Mid or did not) take an oath

                                             i                                                                                                   Det. 18488
      DEPU;Pf-CCU-RK-OFTHE COURT. NOTARY PUBLIC, OR ASSISTANT STATE ATTORNEY                                                                        TITLE OR RANK/CCN


      SEVENTEENTH JUDICIAL C[RCUIT                                              FIRST APPEARANCE/ARREST FORM                                                                                Distribution
      BROWARD
                (FOUNTY                                                                                                                                                                     Original   -


                                                                                                                                                                                                           Court
      STATE OF FLORIDA                                   (SiIO JI.D A[)[)11 IONALSI'ACEHI: N[.EDFD.USI3 lilli PROI#Alli.I. CAIJSI'Al F ICAVI[ C ON[ [NlJ.\ [ ION)                           2.d State Attorney
                                                                                                                                                                                            3rd Filing Agency
                                                                                                                                                                                            4a ArrestingAgency
                         ****
                                     FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                             O COMPLAINTAFFIDAVIT
                                                                                PROBABLECAUSE AFFIDAVIT CONTINUATION


       BROWARD COUNTY                                                                                                                                                                               E ARREST FORM
       ARREST #                                                                                                                                              OBTS #
       Defendant s Last Namd           First                         Middle       SUF         Hgt           Wgt         RC        SEX      DOB               OfTense Report               Arresnng Officer(s)CCN
                   DEMONS                                     JAMELL                          5'8"         120         B         m        05/01/99          90-1901-009039               Det. Steele 19085

       Name o f Victim(4)([f corporation,exac't legal name and state o f incorporation)                                               ADDRESS                                                 PHONE#

       SOF




       Count #                                                   Offense Charged                                                                        Citation # if Applicable               FS or Capias/Warrant#

        .-1                                                                                                                                                                                         F S 914 22(1)

                                                                                                                                                                                                   F.S 914.22(2)(e)

                                                    i
                                                                           CR,X
                                                                                                  ProbableCause Affidavit
       Before me this date personallyappeared Det. GarrettSteele                                                                                                                   who being first duly sworn deposes
       and says that on '        day of
                               3rd               October           2023    at 555 SE 1st Ave Fort Lauderdale, FL 33301
                                                                                   ,                                                                                               (crime location) the above named
       defendant committed the above offens#s charged and the facts showingprobable cause to believethe same are as follows.

                                                    i
    Cortlen Henry has been observe'd over 4 or more times with Jamell Demons Additionally, he has been observed in the company of Jamon
    Mitchell, Jaqun Burton and
                                                 Deri'ck Dixon
    (k)     Has authored any communication indicating responsibility for the commission of any crime by the criminal gang.
    In 2023      REDACTED Henry and Terrdnce Mathis werl involved in the electroniccommunications whic6 lead to the T-ampenng with Witness
    Jamell Demons has been identified as a member of the Bloods Demons is currently in custody at Broward County main Jail pending re-trial
    for a 2018       dodble homicide he committedwith codefendantCortlen Henry. Demons' cnmtnal history includes firearms vijlations, dr;ve by
    shooting at a school, and the pehding homicide.
    Demons meets criteria set forth                            in Florida State Statute 874                    06 documenting him as a Bloods gang member
            Admits to criminal gang membership
                                                    'below
    (a)
    Demons has bublicly aAitted h'Is membership on multiple social media platforms as well as on his private messages on his phone and
    private messages non social mddia.
    ID) Adopts style of dress of a criminal gng
                       tl-4
    There are many photographsahd videos of Demons on social media and on his cellular phone showing him wearing the color red while

    daiming BlooIgang in his captibnsor with hand signs.
    (e) Adopts tlle use of a hand sign identified as used by a criminal gang
                 It
    There are rnahy photographs
                                                  a0
                                     videos of Demons uSING Blood hand signs specifically GKB hand signs and handshakes, both on his
    personal cellular phone and on *ocial media
    (f) Has a tatbo identified as ued by a cnminal gang
    Demons has the color red                   incororated in some of his tattoos Detectives have also identified several Blood gang members tattooing the
    number 17         or?? their bodies TheI meaning Isn't known at the moment only that It has been observed as a newtrend on Blood gang
    members




       I swear the above statement 1S correct and true to the best of my knowledge and belief

                                                                                                          Detective G. Steele 19085                                                     DLE/SID-GITF

,/5/
    ..*                   boJ. De.t.19083                                                     Officer s Name/CCN                                                              Officer s Division
U                   V
       STATEOF                 FLORIDA             COUNTY OF                  BROWARD


       The forgoing instrumentwas acknowledgedbefore me this                           3rd         day of October                                          '2023              who ts personally known

       to me or who has produced (ID tVDe)                   known to me                          identificationand who                  Did
                                                                                             as                                                         Mid or did not) take an oath.
                                                                                                                                                 Det 18488

       DE0CLEFBF-THECOURT. NO/ARY PUBLIC, OR ASSISTANT STATE ATTORNEY                                                                              TiTLE OR RANK/CCN



       SEVENTEEN[rH JUDICIAL CIRCUIT                                           FIRST APPEARANCE/ARREST FORM                                                                                Distribution
       BROWARD COUNTY
                                                                                                                                                                                           Original Court
                                                                                                                                                                                                     -




       STATEOF FLORIDA                                  (Sf IOIJ[.D AI)1)Il ]ONAI. SPA(I Bi. Nl-1-D [) USI.S r E PROBA l,I.1:CA!J';1:Al 1IC,VI I'CON] ]NIJA] ION)                          Znd State Attorney
                                                                                                                                                                                           34 Filing Agency
                                                                                                                                                                                           4'? Arresting Agency
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                                                                                             O COMPLAINTAFFIDAVIT
                                                                               PROBABLECAUSE AFFIDAVIT CONTINUATION


 BROWARD COUNTY                                                                                                                                                                                            E ARREST FORM
 ARREST #                                                                                                                                                          OBTS#
 Defendant s last Name'          First                             Middle        SUF          Hgt            Wgt          RC         SEX        DOB                Offense Report               Arresting Officer(s)CCN
              DEMONS                                       JAMELL                             5'8"           120         B          m         05/01/99            90-1901-009039               Det Steele 19085

 Name of Vtctim(s')([fcorporation,exaci legal name and state of incorporation)                                                           ADDRESS                                                    PHONE#

 SOF




  Count #                                                      Offense Charged                                                                               Citation # if Applicable                FS or Capias/Warrant#
                                                 4
    .--1        'Y f'qtb IAMPERING                                                                                                                                                                        F S    914.22(1)
                                                                                                                                                                                                         F S    914.22(2)(e)
                                                                                              N            R-
                     I




                                                                                                Probable Cause Affidavit
 Before me this date personallyappeared Det. GarrettSteele                                                                                                                               who being first duly sworn deposes
                  ?
 and says that on    3rd    day 6f        October        2023                     ,                 at   555 SE 1st Ave. Fort Lauderdale, FL 33301                                       (crime location) the above named
 defendant committed the above offensds charged and the facts showing probable cause to believe the same are as follows'


(g)Associateswith one or                  mor?
                                known criminal gang members
Demons has been observed willfully associating with Blood gang members, specificallyGKB members, Cortlen Henry, Jaquan Burton,
Derrick Dixon, and Jamon                 Mitchkll-As well as his willful associaiion with Terrence Mathis to pass                                                         on   messages to his codefendantCortlen


                                            gag
Henry.
?     n? identified       as a criminal               member by physical evidence
Demons has multiple photographsand videos showing his membership In the Bloods gang, such as hand signs, posts, captions, and
videos.    AdditiJnally, Demor' cJmmunications and emails show he requested Blood knowedge and                                                                                 was    reruited by the 95 Killa Shine
Bloods, GKB et and has been 6iven the position of"Askari
0) Has been observed In the                  #mpany
                                              of one or more known criminal gang members four or more times Observation in a custodial
setting requires a willful association It is the intent of the Legislature to allow this enter-ion to be used to identify gang members who recruit
and organize l,n jails, prisons, arld other detention settings.
Demonshas Ileen observed ovr 4 or more times with Eortlen Henry Additionally, he has been observed in the company of Jamon
Mitchell, Jaquan Burton and Detnck Dixon.
(k) Has aukored any communcation indicating responsibility for the commission of any cnme by the criminal gang.
In 2023 Demdns wrote notes             the jail to Conlen Henry that were read by Terrence Mathis These notes we/e used to direct Henry to
                                           frctm
Tamper with REDACTED                         Additionally, Demns sent notes to Terrence Mathis explaining that he was paying for Mathis
attorney By Demons directing IIathis and Henry to tamper with a witness over wntten messages he was involved in the                      of                                                               birecting
Criminal Gang Activitiesin violation of Florida State Statute 874.10.




 I swear the
               aboye statement is correct and true to the best of my knowledgeand belief

AMK                /.1? Det.19085                                                                           Detective G Steele 19085
                                                                                              Officer' s Name/CCN
                                                                                                                                                                                              DLE/SID-GITF

                                                                                                                                                                                    Officer s Divtsion

 STATE OF                  FLORIDA
                                             1
                                             COUNTY OF                      BROWARD


 The forgoing instrumentwas acknowledgedbefore me this                                3rd           day of October                                               '2023              who is personallyknown


 to me or who has Droduced (ID tvoe)                      known to me                        as identificationand who                        Did             (did or did not) take an oath.
                                                                                                                                                     Det 18488

 D51rc      CLERK OF THE COURT,NOJARY PUBLIC, OR ASSISTANTSTATE All-ORNEY                                                                               TITLE OR RANK/CCN


 SEVENTEENTH JUDICIAL C[RCUIT                                                 FIRST APPEARANCE/ARREST FORM                                                                                       Distribution
 BROWARD COUNTY                                                                                                                                                                                  Original Court
                                                                                                                                                                                                            -




 STATE OF FLORIDA                                    (SI IOUI.I) A])1) 'IONAI.SPACI: ljI.Ni I [)[ D, (Jb[-S 11[[: PR{)It,tl&1.1 (:AIJS1: AFI-ICAVII ('ONI IN tJA I ION)                          2nd State Attorney
                                                                                                                                                                                                 y, Filing Agency
                                                                                                                                                                                                 4'b Arresting Agency
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                             FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK. 10/4/2023 4:51:11 PM.****




                                                                                            O COMPLAINTAFFIDAVIT
                                                                              PROBABLECAUSE AFFIDAV[T CONTINUATION


     BROWARD COUNTY                                                                                                                                                                              E ARREST FORM
     ARREST #                                                                                                                                             OBTS#
     DefendanfsLast Name           First                           Middle       SUF         Hgt            Wgt       RC       SEX       DOB              Offense Report               Arresting Officer(s)CCN
                DEMONS                                      JAMELL                          5'8"           120      B         m       05/01/99           90-1901-009039               Det Steele 19085

     Name of Victim(s) (Ifcorporation,exac't legal name and state of incorporation)                                               ADDRESS                                                 PHONE#

     SOF




      Count #                                                   Offense Charged                                                                       Citation # if Applicable             FS or Capias/Warrant#

       4   1      *Ti EQS TAMPFRING-                                                                                                                                                            F S   914.22(1)
                                                                                                                                                                                              F.S. 914 22(2)(e)




                                                                                              Probable Cause Affidavit
     Before me this date personallyappeared Det. Garrett Steele                                                                                                              who being first duly sworn deposes
     and says that on      3rd     day o f                October                ,   2023       at 555 SE 1st Ave Fort Lauderdale, FL 33301                                  (crime location) the above named
     defendant commjtted the above offensds charged and the facts showingprobable cause to believe the same are as follows
                                                   '
    Substantiated evidence demonstratesthat the Bloods is a "Criminal Gang," as described under s.874 03, Fla. Stat Chapter 874 of the
    Florida Statutds is the "Criminal Gang Prevention Act." S 874 01, Fla. Stat.

             popbns of the definitidns
    rtin-ent Definitions
    874.03
                                       section of Chapter 874, Fla Stat., reads,
                            used in this
                                 -as                        chapter
    (1)    "Criminal
                        gang"     fo'rmal or informal ongoing organization,association, or group that has as one of its primary activities the
                                 means a

    commission ofcrirAnal or deltnqbent acts, and that Zonstsof three or more persons who have a common name or common identifying
    signs, colors, & symbols, including, but not limited to, terronst organizations and hate groups.
    (a) As used in this subsection, "ongoing" means that the organization was in existence during the time period charged in a petition,
    information, indictment, or action for civil iryunctive relief.
    (b)    As used in this subsection, "primary activities' means that a criminal gang spends a substantial amount of time engaged in such
    activity, although such activity need not be the only, or even the most important,activity in which the criminal gang engages.
    s.874.02, Fla Stat. (2020).
    Detective Polo believes that the Bloods is a Criminal Gang, under Chapter 874, Fla Stat and act as a criminal enterprise, under Chapter       ,




    895, Fla Stat., by having a tight, exclusive group of three or more persons that share the previously detailed signs, colors and symbols, and
    whose primari' purpose Is to gain financial wealth through criminal activity, specificallyviolations of Chapter
    914.22, 918 12.
    In summary, the above Information supports the finding of probable cause that JAMELL DEMONS, CORTLEN HENRY, TERRENCE
    MATHIS, as 4ell as others knovln and unknown, did then And there unlawfully and knowingly engage in misleading conducttoward another
    person with the intent to cause            REDACTEDinduce REDACTED                         to withhold testimony, or withholda record, document,                                  r other object, or to
    cause or induce                                    to evade legal processsummoningthat person to appear as a witness, or to produce a record, document,
    or other  object, in an official probeeding, or to cause or induce REDACTED          to be absent from an official proceeding to which such
                  b4en
    peson
               has
                        summoed              by?
                                         legal process more specifically described as the jury trial of Jarnell Demons,and as a result thereof, the
    official investibation or official poceeding affected involves thJ Investigation or prosecutionof Murder in the First Degree, a capital felony,
    contrary to F.S 914 22(1) and F.S. 914 22(2)(e).


     I swear the above statement 1S correct and true to the best of
                                                                                 my knowledgeand belief

                                                                                                                                                                                  DLE/SID-GITF
    49-- 1322        OCT.19085
                                                                                                        Detective G Steele 19085

g;2/Officer/A's
           Signature                                                                         Officer   s   Name/CCN                                                    Officer's Division

     STATE OF              FLORIDA            COUNTY OF                     BROWARD


     The forgoing instrument was acknowledgedbefore me this                          3rd        day o f October                                         '2023          who is personallyknown


     to me or who                  (ID tyne)               known to me                                                               Did
                     hproduced                                                              as identificationand who                                  (did or did not) take an oath

                                                                                                                                             Det. 18488
     DEPUTPCLERK OF THE COURT. NOTARY PUBLIC, OR ASSISTANT STATE ATTORNEY                                                                      TITLE OR RANK/CCN
           /
     SEVENTEENTH JUDICIAL CIRCUIT                                            FIRST APPEARANCE/ARREST FORM                                                                              Distribution
     BROWARD CpUNTY
                                                                                                                                                                                       Original Court
                                                                                                                                                                                                  -




     STATE OF FUORIDA                                  (SHO I [) ADD]] ]ONAI.SPAC I BH NE DI [) [JS [tb [lli. PROIMHI.1: CAIJ>,1'.\FI 1(AV [ CONI INIJAI'ION)                          2nd State Attorney
                                                                                                                                                                                       3'd Filing Agency
                                                                                                                                                                                       4'b Arresting Agency
